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      EXHIBIT F
   Plaintiff’s Objections and Responses to
Defendants’ First Requests for Production of
Documents (Nos. 1 – 138), served October 29,
                     2018




      EXHIBIT F
                                                                    APP061
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                                    UNITED STATES DISTRICT COURT
14
                                          DISTRICT OF NEVADA
15

16    UNIVERSAL ENTERTAINMENT                            CASE NO.: 2:18-CV-585 (RFB) (GWF)
      CORPORATION, a Japanese corporation,
17                                                       PLAINTIFF’S OBJECTIONS AND
                      Plaintiff,                         RESPONSES TO DEFENDANTS’ FIRST
18                                                       REQUESTS FOR PRODUCTION OF
              vs.                                        DOCUMENTS (NOS. 1 – 138)
19
      ARUZE GAMING AMERICA, INC., a
20    Nevada corporation, KAZUO OKADA, an
      individual
21
                      Defendants.
22

23    PLAINTIFF’S OBJECTIONS AND RESPONSES TO DEFENDANTS’ FIRST REQUESTS
                   FOR PRODUCTION OF DOCUMENTS (NOS. 1 – 138)
24
            Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff Universal Entertainment
25
     Corp. (“UEC” or “Plaintiff”) hereby submits the following Objections and Responses to “Aruze
26
     Gaming America, Inc. and Kazuo Okada’s Requests for Production of Documents (First Set).” Other
27
     parties that have been named by Defendants’ in its Counterclaims have not filed a Reply or otherwise
28
     moved pursuant to Rule 12. Accordingly, these parties are not under any obligation to provide
                                                                                                APP062
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 1   objections and responses or to produce any information at this time. Therefore, the below objections

 2   and responses and any documents produced pursuant hereto are on behalf of Plaintiff Universal

 3   Entertainment Corp. alone.

 4          These objections and responses are made on the basis of information currently available and

 5   without prejudice to the right to produce evidence of any subsequently discovered fact or information,

 6   to add, modify or otherwise change, amend or supplement its response as appropriate or to correct

 7   any inadvertent errors, mistakes or omissions.

 8                                       GENERAL OBJECTIONS
 9          1.      Plaintiff incorporates by reference these General Objections into each and every

10   specific response below. From time to time a specific response may repeat a General Objection for

11   emphasis or for other reasons. The omission of any General Objection in any specific response to a

12   Request for Production is not intended to be and should not be construed as a waiver or limitation of

13   any General Objection to that response. The inclusion of any specific objection in a specific response

14   to a Request for Production is not intended to be and should not be construed as a waiver or limitation

15   of any General Objection or specific objection made herein or that may be asserted at another date.

16          2.      Plaintiff objects to the Instructions and Definitions, to the extent they seek to impose

17   any requirement or discovery obligation on Plaintiff greater or different than those imposed by the

18   Court, the Federal Rules of Civil Procedure and/or the Local Rules of Practice in Civil Proceedings

19   before the United States District Court for the District of Nevada (“Local Rules”).

20          3.      Plaintiff objects to the Instructions and Definitions to the extent they seek information

21   or documents protected, privileged, immune or otherwise exempt from discovery pursuant to the

22   Court, the Federal Rules of Civil Procedure, the Local Rules or any other applicable rule, decision,

23   or law, including the attorney-client privilege, and the work product doctrine. The provision of any

24   privileged information or document by Plaintiff is unintentional, and Plaintiff does not intend to waive

25   any applicable objection or privilege as a result of such production.

26          4.      Plaintiff objects to the Instructions and Definitions to the extent that they seek

27   information or documents covered under a privilege for trade secrets and other confidential and

28   proprietary information. Plaintiff will identify such documents only subject to the terms of the
                                                        2                                          APP063
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 1   Protective Order entered in this case to protect the confidential nature of such information and

 2   documents.

 3          5.      Plaintiff objects to the Instructions and Definitions to the extent they seek information

 4   for time periods beyond those relevant to the issues in this case as overly broad, unduly burdensome,

 5   oppressive, not reasonably calculated to lead to the discovery of admissible evidence, and otherwise

 6   beyond the scope of discovery under the Federal Rules of Civil Procedure and/or the Local Rules.

 7          6.      Plaintiff objects to the Requests for Production to the extent they constitute an abuse

 8   of process, particularly when the Request is unduly burdensome in view of the cost necessary to
 9   investigate and comply weighed against Defendants’ need for information.
10          7.      Plaintiff objects to the Requests for Production as unduly burdensome to the extent
11   that they seek information already in the possession, custody or control of the Defendants.
12          8.      Plaintiff objects to the Definitions and Instructions to the extent that they seek
13   information or documents not within Plaintiff’s knowledge, possession, custody or control.
14          9.      Plaintiff objects to the Requests for Production to the extent that they seek the
15   discovery of information that is within the possession, custody or control of third parties.
16          10.     Plaintiff objects to the Requests for Production as unduly burdensome to the extent
17   that they seek information available from public sources, which can be readily accessed by
18   Defendants.

19          11.     Plaintiff objects to the Requests for Production to the extent they seek information or

20   documents to the extent that it is neither relevant to this case nor reasonably calculated to lead to the

21   discovery of admissible evidence.

22          12.     Plaintiff objects to the Requests for Production to the extent they seek identification

23   of “all” or “every” fact, document, and/or persons or to the extent they seek to “fully identify” a

24   person or entity that refers or relates to a particular subject on the grounds of over breadth, undue

25   burden and expense. Plaintiff is making reasonable searches for information relevant to the issues

26   raised in this case, including documents of the type that are the subject of the Requests for Production.

27   If any additional responsive, non-privileged, non-immune, relevant information is discovered in the

28
                                                        3                                           APP064
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 1   course of any further or continuing searches, it will be identified and/or produced in accordance with

 2   the Federal Rules of Civil Procedure and/or the Local Rules.

 3           13.     Plaintiff objects to the Requests for Production to the extent they call for a legal

 4   opinion or conclusion in formulating a response. Any response or production of information by

 5   Plaintiff shall not be construed as providing a legal conclusion regarding the meaning or application

 6   of any terms or phrases used in the discovery requests.

 7           14.     Plaintiff objects to the Requests for Production to the extent that they call for the

 8   production of information subject to the Attorney-Client Privilege, Work Product Doctrine or any
 9   other similar privilege or immunity from production under the laws of the United States or any foreign
10   jurisdiction, as applicable.
11           15.     Plaintiff objects to the Requests for Production to the extent that they purport to request
12   information from parties other than Plaintiff Universal Entertainment Corp. Other parties named in
13   Defendants’ Counterclaims have, at the time this document was served, not filed a Reply or otherwise
14   moved the Court pursuant to Rule 12 and may in fact not properly be parties to this case’s present
15   discovery plan. Accordingly, these objections and responses are made on behalf of Plaintiff Universal
16   Entertainment Corp. alone and any production of documents or other information pursuant hereto is
17   made on behalf of Plaintiff Universal Entertainment Corp. alone.
18           16.     Plaintiff objects to the Requests for Production to the extent that they purport to impose

19   any burden or obligation upon Plaintiff beyond that which is required by the Federal Rules of Civil

20   Procedure, the Local Rules of the District of Nevada and the Parties’ agreements regarding the

21   protocol for translation and interpretation.

22                 OBJECTIONS TO SPECIFIC DEFINITIONS AND INSTRUCTIONS

23           1.      Plaintiff incorporates by reference these Objections to Specific Definitions and

24   Instructions into each and every specific response below. From time to time a specific response may

25   repeat an objection for emphasis or for other reasons. The omission of any Objection to a Specific

26   Definition and Instruction in any specific response is not intended to be and should not be construed

27   as a waiver or limitation of any objection in that response. The inclusion of any specific objection in

28   a specific response to a Request for Production is not intended to be and should not be construed as a
                                                         4                                            APP065
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 1   waiver or limitation of any General Objection or specific objection made herein or that may be

 2   asserted at another date.

 3          2.      Plaintiff objects to Instruction No. 1 as misrepresenting the Federal Rules of Civil

 4   Procedure and for purporting to place a burden or obligation on Plaintiff not reflected in the Rules.

 5   Defendants erroneously assert that FRCP 34(b)(2) “Plaintiff/Counter-Defendants [to] ‘organize and

 6   label [produced documents] to correspond with the categories in the request.’” Rule 34(b)(2),

 7   however, permits a party to produce information “as they are kept in the usual course of business or

 8   must organize and label them to correspond to the categories in the request.” Federal Rule of Civil
 9   Procedure Rule 34(b)(2)(E)(i) (emphasis added). Plaintiff will endeavor to produce documents and
10   other information in the manner that they are maintained in the ordinary course of business and/or
11   permit Defendants to inspect such documents and other information. Plaintiff further notes that
12   Instruction No. 1 contradicts Instruction No. 14 in this regard.
13          3.      Plaintiff objects to the definitions supplied in Instruction No. 2 of “AGA,” “Aruze”
14   “Okada Holdings” and “UEC” as vague, ambiguous and overly broad to the extent it purports to
15   include “each of their respective current and former officers, directors, agents, attorneys, accountants,
16   employees, representatives, partners, consultants, contractors, advisors, and other persons occupying
17   similar positions or performing similar functions, and all other persons acting or purporting to act on
18   its behalf or under its control.” Similarly, Plaintiff objects to Instruction No. 5 that purports to equate

19   “persons and other entities” with their “agents, employees, representatives and attorneys.”

20          4.      Plaintiff objects to the definition in Instruction No. 2 of “concerning” as vague,

21   ambiguous and overly broad to the extent it purports to include all of the following meanings and

22   connotations: “constituting, relating to, pertaining to, referring to, alluding to, responding to, in

23   connection with, commenting on, in response to, regarding, explaining, discussing, showing,

24   describing, studying, reflecting, analyzing, supporting or contradicting.” Plaintiff will interpret the

25   word “concerning” as it is commonly understood in ordinary usage.

26          5.      Plaintiff objects to the definitions in Instruction No. 2 of “Documents” and

27   “Communications” as being vague, ambiguous and overly broad and imposing a burden on Plaintiff

28   greater than that imposed by the Federal Rules of Civil Procedure or the Local Rules. The supplied
                                                         5                                            APP066
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 1   definitions are vague and circular and/or nonsensical. As just one example, Defendants purport to

 2   define a “document” as “including any physical things” when “tangible things” are considered a

 3   separate category of production distinct from documents pursuant to Federal Rule of Civil Procedure

 4   34(a)(1)(A) and (B). Plaintiffs will produce (subject to its objections) documents falling under the

 5   definition set forth in Rule 34(a)(1)(A). If a specific request through context indicates that a “tangible

 6   thing” should be produced in response to a specific request, Plaintiff will alert Defendants to make

 7   arrangements for inspection or the production of a sample.

 8          6.      Plaintiff objects to the supplied definitions in Instruction No. 4 of the words “and” and
 9   “or” as vague, ambiguous, circular and overly broad. Similarly, Plaintiff objects to Instruction No. 3
10   that requests terms to be read as simultaneously singular and plural as vague, ambiguous, circular and
11   over broad. Plaintiff will interpret these terms according to their ordinary usage.
12          7.      Plaintiff objects to Instruction No. 7 relating to the production of privileged
13   information or information subject to the work product doctrine to the extent that it exceeds the
14   obligations imposed on Plaintiff by Rule 26 of the Federal Rules of Civil Procedure. Similarly,
15   Plaintiff objects to Instruction Nos. 8-9 regarding the redaction of document and the instructions
16   relating to the logging of documents that no longer exist. Such instructions seek to impose an
17   obligation on Plaintiff greater than required by the Federal Rules of Civil Procedure or the Local
18   Rules for the District of Nevada. Further, the information requested by these instructions maybe

19   outside of the custody or control of Plaintiff or simply unknown or unknowable even subsequent to a

20   reasonable investigation.

21          8.      Plaintiff objects to Instruction No. 10 to the extent it purports to impose any burden or

22   obligation upon Plaintiff beyond that which is required by the Federal Rules of Civil Procedure, the

23   Local Rules of the District of Nevada and the Parties’ agreements regarding the production of

24   electronically stored information.

25          9.      Plaintiff objects to Instruction No. 12 to the extent it purports to impose a burden or

26   oppression on Plaintiff beyond that which is required by the Federal Rules of Civil Procedure or the

27   Local Rules of the District of Nevada.

28
                                                         6                                           APP067
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 1                                         OBJECTIONS AND RESPONSES

 2                                                    General

 3   REQUEST NO. 1:

 4   Please produce copies of all Documents identified in and/or which tend to support, refute, or are in any

 5   way relevant to the Second Amended Complaint filed on August 23, 2018.

 6   OBJECTIONS AND RESPONSE:

 7           Plaintiff incorporates each of its General Objections and its Objections to Definitions and

 8   Instructions as if fully set forth herein.
 9           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
10   which are subject to more than one reasonable interpretation: “all Documents,” and “tend to
11   support, refute, or are in any way relevant.” Plaintiff objects to this request to the extent it purports
12   to request information that is in the possession, custody or control of third parties to this lawsuit and
13   not within the possession, custody and control of Plaintiff. Plaintiff objects to this request to the
14   extent it purports to request information that is within the public domain and accordingly is at least
15   as easily obtained by the Defendants. Plaintiff objects to this request to the extent that it purports
16   to request information that is outside of the possession, custody or control of Plaintiff. Plaintiff
17   objects to this request as overly burdensome to the extent it purports to request documents that are,
18   or should be, within the possession custody and control of one or more of the Defendants. Plaintiff

19   objects to this request as overly burdensome to the extent it purports to duplicate or overlap in

20   subject matter with other requests propounded by the Defendants.

21           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

22   search, Plaintiff will produce responsive, non-privileged information within its custody and control

23   to the extent that such information exists.

24

25   REQUEST NO. 2:

26   Please produce all Documents reviewed or relied upon in connection with the filing of the Second

27   Amended Complaint in this litigation.

28   //
                                                         7                                            APP068
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 1   OBJECTIONS AND RESPONSE:

 2           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 3   Instructions as if fully set forth herein.

 4           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 5   which are subject to more than one reasonable interpretation: “all Documents” and “reviewed.”

 6   Plaintiff objects to this request as vague and ambiguous in its use of the following terms, which are

 7   subject to more than one reasonable interpretation: “filing”. Plaintiff will undertake to interpret

 8   these terms as they would in ordinary usage given the context. Plaintiff objects to this request as
 9   overly broad and unduly burdensome inasmuch as it purports to request the production of “all” or
10   “each and every” document in the requested category of documents. Such a request for all
11   documents is unduly burdensome in particular given the extremely broad definitions of “Document”
12   supplied by Defendants and, consequently, the request purports to require Plaintiff to collect
13   documents from potentially every employee, agent or attorney of Plaintiff rather than conduct a
14   reasonable investigation that collects responsive documents from a reasonable list of custodians
15   whose job responsibilities would indicate that they were in possession of potentially responsive
16   information. Plaintiff objects to this request to the extent it purports to request the production of
17   information subject to the attorney-client privilege, the work product doctrine or any other
18   recognized privilege or immunity. Plaintiff objects to this request to the extent it purports to

19   request information that is in the possession, custody or control of third parties to this lawsuit and

20   not within the possession, custody and control of Plaintiff. Plaintiff objects to this request to the

21   extent that it purports to request information that is outside of the possession, custody or control of

22   Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports to request

23   documents that are, or should be, within the possession custody and control of one or more of the

24   Defendants.

25   Plaintiff objects to this request as overly burdensome to the extent it purports to duplicate or overlap

26   in subject matter with other requests propounded by the Defendants.

27           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

28   search, Plaintiff will produce responsive, non-privileged information within its custody and control
                                                         8                                           APP069
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 1   to the extent that such information exists.

 2

 3   REQUEST NO. 3:

 4   Please produce all Documents on which UEC intends to rely to support its positions Concerning

 5   any claim or defense in this action.

 6   OBJECTIONS AND RESPONSE:

 7           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 8   Instructions as if fully set forth herein.
 9           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
10   which are subject to more than one reasonable interpretation: “all Documents.” Plaintiff objects to
11   this request to the extent it purports to request information that is in the possession, custody or
12   control of third parties to this lawsuit and not within the possession, custody and control of Plaintiff.
13   Plaintiff objects to this request to the extent it purports to request information that is within the
14   public domain and accordingly is at least as easily obtained by the Defendants. Plaintiff objects to
15   this request to the extent that it purports to request information that is outside of the possession,
16   custody or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it
17   purports to request documents that are, or should be, within the possession custody and control of
18   one or more of the Defendants.      Plaintiff objects to this request as overly burdensome to the extent

19   it purports to duplicate or overlap in subject matter with other requests propounded by the

20   Defendants. Plaintiff further objects to this request as premature inasmuch as discovery in this case

21   has just begun and the Plaintiff has not yet completed its investigation of the relevant facts, the

22   Court has not rendered any rulings or claim constructions and the parties have not completed expert

23   discovery.

24           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

25   search, Plaintiff will produce responsive, non-privileged information within its custody and control

26   to the extent that such information exists. Further Plaintiff’s production of certain of the requested

27   information will be made when such production is required pursuant to the Court’s Case

28   Management Order and the Patent Local Rules of the District of Nevada.
                                                         9                                            APP070
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 1   REQUEST NO. 4:

 2   Please produce all Documents sufficient to identify persons who have knowledge Concerning

 3   any claim or defense in this action.

 4   OBJECTIONS AND RESPONSE:

 5           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 6   Instructions as if fully set forth herein.

 7           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 8   which are subject to more than one reasonable interpretation: “Documents …
 9   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given
10   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
11   purports to request the production of “all” or “each and every” document in the requested category
12   of documents. Such a request for all documents is unduly burdensome in particular given the
13   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
14   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
15   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
16   reasonable list of custodians whose job responsibilities would indicate that they were in possession
17   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
18   request information that is in the possession, custody or control of third parties to this lawsuit and

19   not within the possession, custody and control of Plaintiff. Plaintiff objects to this request to the

20   extent it purports to request information that is within the public domain and accordingly is at least

21   as easily obtained by the Defendants. Plaintiff objects to this request to the extent that it purports

22   to request information that is outside of the possession, custody or control of Plaintiff. Plaintiff

23   objects to this request as overly burdensome to the extent it purports to request documents that are,

24   or should be, within the possession custody and control of one or more of the Defendants. Plaintiff

25   objects to this request as overly burdensome to the extent it purports to duplicate or overlap in

26   subject matter with other requests propounded by the Defendants. Plaintiff further objects to this

27   request as premature inasmuch as discovery in this case has just begun and the Plaintiff has not yet

28   completed its investigation of the relevant facts, the Court has not rendered any rulings or claim
                                                        10                                           APP071
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 1   constructions and the parties have not completed expert discovery.

 2           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 3   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 4   to the extent that such information exists. Further Plaintiff’s production of certain of the requested

 5   information will be made when such production is required pursuant to the Court’s Case

 6   Management Order and the Patent Local Rules of the District of Nevada.

 7

 8   REQUEST NO. 5:
 9   Please produce all Documents Concerning, or on which UEC intends to rely to establish, elements

10   of UEC’ case where UEC bears the burden of proof.

11   OBJECTIONS AND RESPONSE:

12           Plaintiff incorporates each of its General Objections and Objections to Definitions and

13   Instructions as if fully set forth herein.

14           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

15   which are subject to more than one reasonable interpretation: “all Documents” “Concerning.”

16   Plaintiff will undertake to interpret these terms as they would in ordinary usage given the

17   context. Plaintiff objects to this request to the extent it purports to request information that is in the

18   possession, custody or control of third parties to this lawsuit and not within the possession, custody

19   and control of Plaintiff. Plaintiff objects to this request to the extent it purports to request

20   information that is within the public domain and accordingly is at least as easily obtained by the

21   Defendants. Plaintiff objects to this request to the extent that it purports to request information that

22   is outside of the possession, custody or control of Plaintiff. Plaintiff objects to this request as overly

23   burdensome to the extent it purports to request documents that are, or should be, within the

24   possession custody and control of one or more of the Defendants.        Plaintiff objects to this request

25   as overly burdensome to the extent it purports to duplicate or overlap in subject matter with other

26   requests propounded by the Defendants. Plaintiff further objects to this request as premature

27   inasmuch as discovery in this case has just begun and the Plaintiff has not yet completed its

28   investigation of the relevant facts, the Court has not rendered any rulings or claim constructions and
                                                         11                                             APP072
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 1   the parties have not completed expert discovery.

 2           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 3   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 4   to the extent that such information exists.

 5

 6   REQUEST NO. 6:

 7   Please produce all exhibits that UEC plans to use at any hearing or at the trial of this case, including

 8   Documents, physical samples, or demonstratives of any kind, and all Documents prepared by any
 9   person UEC expects to call to testify as an expert at trial, including but not limited to reports,
10   correspondence, memoranda, charts, photographs, diagrams, drawings, tables, notes or similar
11   Documents, as well as Documents though not written by experts, that UEC intends to offer into
12   evidence through an expert at trial.
13   OBJECTIONS AND RESPONSE:
14           Plaintiff incorporates each of its General Objections and Objections to Definitions and
15   Instructions as if fully set forth herein.
16           Plaintiff objects to this request to the extent it purports to request information that is in the
17   possession, custody or control of third parties to this lawsuit and not within the possession, custody
18   and control of Plaintiff. Plaintiff objects to this request to the extent it purports to request

19   information that is within the public domain and accordingly is at least as easily obtained by the

20   Defendants. Plaintiff objects to this request to the extent that it purports to request information that

21   is outside of the possession, custody or control of Plaintiff. Plaintiff objects to this request as overly

22   burdensome to the extent it purports to request documents that are, or should be, within the

23   possession custody and control of one or more of the Defendants.        Plaintiff objects to this request

24   as overly burdensome to the extent it purports to duplicate or overlap in subject matter with other

25   requests propounded by the Defendants.

26           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

27   search, Plaintiff will produce responsive, non-privileged information within its custody and control

28   to the extent that such information exists.
                                                         12                                             APP073
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 1   REQUEST NO. 7:

 2   Please produce each and every written or recorded statement, affidavit, affirmation or declaration

 3   Concerning any of the allegations in the Second Amended Complaint that UEC or anyone acting on

 4   behalf of UEC has obtained.

 5   OBJECTIONS AND RESPONSE:

 6           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 7   Instructions as if fully set forth herein.

 8           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
 9   which are subject to more than one reasonable interpretation: “anyone acting on behalf of UEC has
10   obtained.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given
11   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
12   purports to request the production of “all” or “each and every” document in the requested category
13   of documents. Such a request for all documents is unduly burdensome in particular given the
14   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
15   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
16   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
17   reasonable list of custodians whose job responsibilities would indicate that they were in possession
18   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

19   request information that is in the possession, custody or control of third parties to this lawsuit and

20   not within the possession, custody and control of Plaintiff. Plaintiff objects to this request to the

21   extent it purports to request information that is within the public domain and accordingly is at least

22   as easily obtained by the Defendants. Plaintiff objects to this request to the extent that it purports to

23   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff

24   objects to this request as overly burdensome to the extent it purports to request documents that are,

25   or should be, within the possession custody and control of one or more of the Defendants. Plaintiff

26   objects to this request as overly burdensome to the extent it purports to duplicate or overlap in

27   subject matter with other requests propounded by the Defendants.

28           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
                                                        13                                           APP074
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 1   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 2   to the extent that such information exists.

 3

 4   REQUEST NO. 8:

 5   Please produce all Documents on which UEC relied in the preparation of UEC's response or

 6   supplemental response to any interrogatory, request for admission, or request for production served

 7   by Defendants in this Action, including any Documents identified in, requested to be identified in,

 8   used, or relied upon in the preparation of any such UEC response or supplemental response.
 9   OBJECTIONS AND RESPONSE:
10           Plaintiff incorporates each of its General Objections and Objections to Definitions and
11   Instructions as if fully set forth herein.
12           Plaintiff objects to this request to the extent it purports to request the production of
13   information subject to the attorney-client privilege, the work product doctrine or any other
14   recognized privilege or immunity. Plaintiff further objects to this request as specifically requesting
15   the work product protected thoughts and mental impressions of Plaintiff’s counsel. Plaintiff objects
16   to this request to the extent it purports to request information that is within the public domain and
17   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request as
18   overly burdensome to the extent it purports to request documents that are, or should be, within the

19   possession custody and control of one or more of the Defendants. Plaintiff objects to this request as

20   overly burdensome to the extent it purports to duplicate or overlap in subject matter with other

21   requests propounded by the Defendants.

22           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

23   search, Plaintiff will produce responsive, non-privileged information within its custody and control

24   to the extent that such information exists.

25

26   REQUEST NO. 9:

27   Please produce all Documents evidencing any damages incurred by Plaintiff as it relates to any

28   claim alleged in the Second Amended Complaint.
                                                         14                                             APP075
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 1   OBJECTIONS AND RESPONSE:

 2           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 3   Instructions as if fully set forth herein.

 4           Plaintiff objects to this request to the extent it purports to request the production of

 5   information subject to the attorney-client privilege, the work product doctrine or any other

 6   recognized privilege or immunity. Plaintiff objects to this request to the extent that it purports to

 7   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff

 8   objects to this request as overly burdensome to the extent it purports to request documents that are,
 9   or should be, within the possession custody and control of one or more of the Defendants.          Plaintiff
10   objects to this request as overly burdensome to the extent it purports to duplicate or overlap in
11   subject matter with other requests propounded by the Defendants. Plaintiff further objects to this
12   request as premature inasmuch as discovery in this case has just begun and the Plaintiff has not yet
13   completed its investigation of the relevant facts, the Court has not rendered any rulings or claim
14   constructions and the parties have not completed expert discovery. Plaintiff further objects to this
15   request to the extent that damages suffered by Plaintiff are ongoing and accordingly this request
16   could not be completely answered until infringement ceases.
17           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
18   search, Plaintiff will produce responsive, non-privileged information within its custody and control

19   to the extent that such information exists.

20

21   REQUEST NO. 10:

22   Please produce all Documents Concerning any document retention or destruction policy of UEC or

23   any such policy governing UEC employees.

24   OBJECTIONS AND RESPONSE:

25           Plaintiff incorporates each of its General Objections and Objections to Definitions and

26   Instructions as if fully set forth herein.

27           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

28   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
                                                         15                                             APP076
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 1   “destruction policy.” Plaintiff will undertake to interpret these terms as they would in ordinary

 2   usage given the context. Plaintiff objects to this request to the extent it purports to request the

 3   production of information subject to the attorney-client privilege, the work product doctrine or any

 4   other recognized privilege or immunity. Plaintiff further objects to this request as premature

 5   inasmuch as discovery in this case has just begun and the Plaintiff has not yet completed its

 6   investigation of the relevant facts, the Court has not rendered any rulings or claim constructions and

 7   the parties have not completed expert discovery.

 8           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
 9   search, Plaintiff will produce responsive, non-privileged information within its custody and control
10   to the extent that such information exists.
11

12   REQUEST NO. 11:
13   Please produce all Documents containing any facts or data that UEC, or anyone on its behalf

14   including attorneys, provided to any testifying expert witness that the expert considered in forming

15   the opinions to be expressed.

16   OBJECTIONS AND RESPONSE:

17           Plaintiff incorporates each of its General Objections and Objections to Definitions and

18   Instructions as if fully set forth herein.

19           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

20   which are subject to more than one reasonable interpretation: “all Documents containing any facts

21   or data.” Plaintiff notes that same facts may be contained in documents that are not relied upon and

22   those that are relied upon. Further, Plaintiff further objects to this request as premature inasmuch as

23   discovery in this case has just begun and the Plaintiff has not yet completed its investigation of the

24   relevant facts, the Court has not rendered any rulings or claim constructions and the parties have not

25   completed expert discovery.

26           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

27   search, Plaintiff will produce responsive, non-privileged information within its custody and control

28   to the extent that such information exists.
                                                        16                                           APP077
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 1   REQUEST NO. 12:

 2   Please produce all Documents containing any assumptions that UEC, or anyone on its behalf

 3   including attorneys, provided to any testifying expert witness that the expert relied on in forming

 4   the opinions to be expressed from January 1, 2017 to present.

 5   OBJECTIONS AND RESPONSE:

 6           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 7   Instructions as if fully set forth herein.

 8           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
 9   which are subject to more than one reasonable interpretation: “that the expert relied on in forming
10   the opinions to be expressed” and “containing any assumptions.” Plaintiff will undertake to interpret
11   these terms as they would in ordinary usage given the context. Plaintiff objects to this request as
12   overly broad and unduly burdensome inasmuch as it purports to request the production of “all” or
13   “each and every” document in the requested category of documents. Such a request for all
14   documents is unduly burdensome in particular given the extremely broad definitions of “Document”
15   supplied by Defendants and, consequently, the request purports to require Plaintiff to collect
16   documents from potentially every employee, agent or attorney of Plaintiff rather than conduct a
17   reasonable investigation that collects responsive documents from a reasonable list of custodians
18   whose job responsibilities would indicate that they were in possession of potentially responsive

19   information. Plaintiff objects to this request as overly burdensome to the extent it purports to

20   duplicate or overlap in subject matter with other requests propounded by the Defendants. Plaintiff

21   further objects to this request as premature inasmuch as discovery in this case has just begun and the

22   Plaintiff has not yet completed its investigation of the relevant facts, the Court has not rendered any

23   rulings or claim constructions and the parties have not completed expert discovery.

24           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

25   search, Plaintiff will produce responsive, non-privileged information within its custody and control

26   to the extent that such information exists.

27   //

28   //
                                                       17                                          APP078
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 1                                          Corporate Structure/History

 2   REQUEST NO. 13:

 3   Please produce all Documents Concerning the corporate structure, organization, or business of

 4   UEC, including without limitation, articles of incorporation, bylaws, organizational charts, decision-

 5   making authority charts, business plans, and corporate reports and filings.

 6   OBJECTIONS AND RESPONSE:

 7           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 8   Instructions as if fully set forth herein.
 9           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
10   which are subject to more than one reasonable interpretation: “business of UEC,” “decision making
11   authority charts.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
12   given the context. Plaintiff objects to this request as overly broad and unduly burdensome
13   inasmuch as it purports to request the production of “all” or “each and every” document in the
14   requested category of documents. Such a request for all documents is unduly burdensome in
15   particular given the extremely broad definitions of “Document” supplied by Defendants and,
16   consequently, the request purports to require Plaintiff to collect documents from potentially every
17   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
18   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

19   that they were in possession of potentially responsive information. Plaintiff objects to this request

20   to the extent it purports to request information that is neither relevant to the subject matter of this

21   lawsuit nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects

22   to this request to the extent it purports to request information that is within the public domain and

23   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the

24   extent that it is not reasonably limited to a time period relevant to the causes of action and claims at

25   issue in this lawsuit. Plaintiff objects to this request as overly burdensome to the extent it purports

26   to request documents that are, or should be, within the possession custody and control of one or

27   more of the Defendants. Plaintiff objects to this request as overly burdensome to the extent it

28   purports to duplicate or overlap in subject matter with other requests propounded by the Defendants.
                                                         18                                           APP079
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 1           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 2   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 3   to the extent that such information exists.

 4

 5   REQUEST NO. 14:

 6   Please produce all Documents Concerning amendments UEC has made to its corporate Documents,

 7   including but not limited to its articles of incorporation and bylaws, since January 1, 2007.

 8   OBJECTIONS AND RESPONSE:
 9           Plaintiff incorporates each of its General Objections and Objections to Definitions and
10   Instructions as if fully set forth herein.
11   Plaintiff objects to this request as vague and ambiguous in its use of the following terms, which are
12   subject to more than one reasonable interpretation: “amendments UEC has made” “Documents
13   Concerning” and “Documents.” Plaintiff will undertake to interpret these terms as they would in
14   ordinary usage given the context. Plaintiff objects to this request as overly broad and unduly
15   burdensome inasmuch as it purports to request the production of “all” or “each and every”
16   document in the requested category of documents. Such a request for all documents is unduly
17   burdensome in particular given the extremely broad definitions of “Document” supplied by
18   Defendants and, consequently, the request purports to require Plaintiff to collect documents from

19   potentially every employee, agent or attorney of Plaintiff rather than conduct a reasonable

20   investigation that collects responsive documents from a reasonable list of custodians whose job

21   responsibilities would indicate that they were in possession of potentially responsive

22   information. Plaintiff objects to this request to the extent it purports to request information that is

23   neither relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the

24   discovery of admissible evidence. Plaintiff objects to this request to the extent it purports to request

25   information that is within the public domain and accordingly is at least as easily obtained by the

26   Defendants. Plaintiff objects to this request to the extent that it is not reasonably limited to a time

27   period relevant to the causes of action and claims at issue in this lawsuit. Plaintiff objects to this

28   request as overly burdensome to the extent it purports to request documents that are, or should be,
                                                        19                                             APP080
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 1   within the possession custody and control of one or more of the Defendants.       Plaintiff objects to

 2   this request as overly burdensome to the extent it purports to duplicate or overlap in subject matter

 3   with other requests propounded by the Defendants.

 4           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 5   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 6   to the extent that such information exists.

 7

 8   REQUEST NO. 15:
 9   Please produce all Documents Concerning the corporate structure, organization, or business of

10   Aruze, including without limitation, articles of incorporation, bylaws, organizational charts,

11   business plans, and corporate reports and filings, since January 1, 2007.

12   OBJECTIONS AND RESPONSE:

13           Plaintiff incorporates each of its General Objections and Objections to Definitions and

14   Instructions as if fully set forth herein.

15           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

16   which are subject to more than one reasonable interpretation: “business of Aruze”. Plaintiff will

17   undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff

18   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the

19   production of “all” or “each and every” document in the requested category of documents. Such a

20   request for all documents is unduly burdensome in particular given the extremely broad definitions

21   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

22   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

23   conduct a reasonable investigation that collects responsive documents from a reasonable list of

24   custodians whose job responsibilities would indicate that they were in possession of potentially

25   responsive information. Plaintiff objects to this request to the extent it purports to request

26   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to

27   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it

28   purports to request information that is within the public domain and accordingly is at least as easily
                                                        20                                            APP081
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 1   obtained by the Defendants. Plaintiff objects to this request to the extent that it is not reasonably

 2   limited to a time period relevant to the causes of action and claims at issue in this lawsuit. Plaintiff

 3   objects to this request as overly burdensome to the extent it purports to request documents that are,

 4   or should be, within the possession custody and control of one or more of the Defendants. Plaintiff

 5   objects to this request as overly burdensome to the extent it purports to duplicate or overlap in

 6   subject matter with other requests propounded by the Defendants.

 7           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 8   search, Plaintiff will produce responsive, non-privileged information within its custody and control
 9   to the extent that such information exists.
10

11   REQUEST NO. 16:
12   Please produce all Documents Concerning amendments Aruze has made to its corporate

13   Documents, including but not limited to its articles of incorporation and bylaws, since January 1,

14   2007.

15   OBJECTIONS AND RESPONSE:

16           Plaintiff incorporates each of its General Objections and Objections to Definitions and

17   Instructions as if fully set forth herein.

18           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

19   which are subject to more than one reasonable interpretation: “amendments Aruze has made”

20   “Documents Concerning” and “Documents”. Plaintiff will undertake to interpret these terms as

21   they would in ordinary usage given the context. Plaintiff objects to this request as overly broad and

22   unduly burdensome inasmuch as it purports to request the production of “all” or “each and every”

23   document in the requested category of documents. Such a request for all documents is unduly

24   burdensome in particular given the extremely broad definitions of “Document” supplied by

25   Defendants and, consequently, the request purports to require Plaintiff to collect documents from

26   potentially every employee, agent or attorney of Plaintiff rather than conduct a reasonable

27   investigation that collects responsive documents from a reasonable list of custodians whose job

28   responsibilities would indicate that they were in possession of potentially responsive information.
                                                        21                                          APP082
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 1   Plaintiff objects to this request to the extent it purports to request information that is neither relevant

 2   to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

 3   evidence. Plaintiff objects to this request to the extent it purports to request information that is

 4   within the public domain and accordingly is at least as easily obtained by the Defendants. Plaintiff

 5   objects to this request to the extent that it is not reasonably limited to a time period relevant to the

 6   causes of action and claims at issue in this lawsuit. Plaintiff objects to this request as overly

 7   burdensome to the extent it purports to request documents that are, or should be, within the

 8   possession custody and control of one or more of the Defendants. Plaintiff objects to this request as
 9   overly burdensome to the extent it purports to duplicate or overlap in subject matter with other
10   requests propounded by the Defendants.
11           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
12   search, Plaintiff will produce responsive, non-privileged information within its custody and control
13   to the extent that such information exists.
14

15   REQUEST NO. 17:
16   Please produce all Documents Concerning Okada Holdings’ appointment of Okada as nominee

17   director in UEC.

18   OBJECTIONS AND RESPONSE:

19           Plaintiff incorporates each of its General Objections and Objections to Definitions and

20   Instructions as if fully set forth herein.

21           Plaintiff objects to this request to the extent it purports to request information that is neither

22   relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of

23   admissible evidence. Plaintiff objects to this request to the extent it purports to request information

24   that is within the public domain and accordingly is at least as easily obtained by the Defendants.

25   Plaintiff objects to this request to the extent that it is not reasonably limited to a time period relevant

26   to the causes of action and claims at issue in this lawsuit. Plaintiff objects to this request as overly

27   burdensome to the extent it purports to request documents that are, or should be, within the

28   possession custody and control of one or more of the Defendants. Plaintiff objects to this request
                                                         22                                           APP083
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 1   as overly burdensome to the extent it purports to duplicate or overlap in subject matter with other

 2   requests propounded by the Defendants.

 3           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 4   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 5   to the extent that such information exists.

 6

 7   REQUEST NO. 18:

 8   Please produce all Documents Concerning the sale of AGA by UEC to Okada which was
 9   consummated on March 31, 2009.
10   OBJECTIONS AND RESPONSE:
11           Plaintiff incorporates each of its General Objections and Objections to Definitions and
12   Instructions as if fully set forth herein.
13   Plaintiff objects to this request as vague and ambiguous in its use of the following terms, which are
14   subject to more than one reasonable interpretation: “sale of AGA by UEC”. Plaintiff will
15   undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff
16   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the
17   production of “all” or “each and every” document in the requested category of documents. Such a
18   request for all documents is unduly burdensome in particular given the extremely broad definitions

19   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

20   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

21   conduct a reasonable investigation that collects responsive documents from a reasonable list of

22   custodians whose job responsibilities would indicate that they were in possession of potentially

23   responsive information. Plaintiff objects to this request to the extent it purports to request

24   information that is within the public domain and accordingly is at least as easily obtained by the

25   Defendants. Plaintiff objects to this request to the extent that it purports to request information that

26   is outside of the possession, custody or control of Plaintiff. Plaintiff objects to this request as overly

27   burdensome to the extent it purports to request documents that are, or should be, within the

28   possession custody and control of one or more of the Defendants. Plaintiff objects to this request
                                                        23                                            APP084
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 1   as overly burdensome to the extent it purports to duplicate or overlap in subject matter with other

 2   requests propounded by the Defendants.

 3           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 4   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 5   to the extent that such information exists.

 6

 7   REQUEST NO. 19:

 8   Please produce all Documents in support of UEC’s contention in paragraph 59 of the Second
 9   Amended Complaint that the transfer of the remaining stock in AGA owned by UEC to Okada was
10   “completed in March 2010.”
11   OBJECTIONS AND RESPONSE:
12           Plaintiff incorporates each of its General Objections and Objections to Definitions and
13   Instructions as if fully set forth herein.
14           Plaintiff objects to this request to the extent it purports to request information that is within
15   the public domain and accordingly is at least as easily obtained by the Defendants. Plaintiff objects
16   to this request to the extent that it purports to request information that is outside of the possession,
17   custody or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it
18   purports to request documents that are, or should be, within the possession custody and control of

19   one or more of the Defendants.

20           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

21   search, Plaintiff will produce responsive, non-privileged information within its custody and control

22   to the extent that such information exists.

23

24   REQUEST NO. 20:

25   Please produce all Documents Concerning UEC’s appointment of Okada as nominee director in

26   Tiger Resorts Asia Limited dated April 8, 2014.

27   OBJECTIONS AND RESPONSE:

28           Plaintiff incorporates each of its General Objections and Objections to Definitions and
                                                         24                                           APP085
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 1   Instructions as if fully set forth herein.

 2              Plaintiff objects to this request to the extent it purports to request information that is neither

 3   relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of

 4   admissible evidence. Plaintiff objects to this request to the extent it purports to request information

 5   that is in the possession, custody or control of third parties to this lawsuit and not within the

 6   possession, custody and control of Plaintiff. Plaintiff objects to this request to the extent it purports

 7   to request information that is within the public domain and accordingly is at least as easily obtained

 8   by the Defendants. Plaintiff objects to this request to the extent that it purports to request
 9   information that is outside of the possession, custody or control of Plaintiff. Plaintiff objects to this
10   request as overly burdensome to the extent it purports to request documents that are, or should be,
11   within the possession custody and control of one or more of the Defendants.            Plaintiff further
12   objects to this request as beyond the scope of the claims and defenses of the lawsuit between the
13   parties.
14              Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
15   search, Plaintiff will produce responsive, non-privileged information within its custody and control
16   to the extent that such information exists.
17

18   REQUEST NO. 21:

19   Please produce all Documents Concerning Okada’s responsibilities and duties, including any job

20   description, as director of Tiger Resorts Asia Limited.

21   OBJECTIONS AND RESPONSE:

22              Plaintiff incorporates each of its General Objections and Objections to Definitions and

23   Instructions as if fully set forth herein.

24              Plaintiff objects to this request to the extent it purports to request information that is neither

25   relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of

26   admissible evidence. Plaintiff objects to this request to the extent it purports to request information

27   that is in the possession, custody or control of third parties to this lawsuit and not within the

28   possession, custody and control of Plaintiff. Plaintiff objects to this request to the extent it purports
                                                            25                                           APP086
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 1   to request information that is within the public domain and accordingly is at least as easily obtained

 2   by the Defendants. Plaintiff objects to this request to the extent that it purports to request

 3   information that is outside of the possession, custody or control of Plaintiff.       Plaintiff objects to

 4   this request as overly burdensome to the extent it purports to request documents that are, or should

 5   be, within the possession custody and control of one or more of the Defendants. Plaintiff further

 6   objects to this request as beyond the scope of the claims and defenses of the lawsuit between the

 7   parties.

 8              Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
 9   search, Plaintiff will produce responsive, non-privileged information within its custody and control
10   to the extent that such information exists.
11

12   REQUEST NO. 22:
13   Please produce all Documents Concerning UEC’s revocation of Okada’s appointment of nominee

14   director in Tiger Resorts Asia Limited.

15   OBJECTIONS AND RESPONSE:

16              Plaintiff incorporates each of its General Objections and Objections to Definitions and

17   Instructions as if fully set forth herein.

18              Plaintiff objects to this request to the extent it purports to request information that is neither

19   relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of

20   admissible evidence. Plaintiff objects to this request to the extent it purports to request information

21   that is in the possession, custody or control of third parties to this lawsuit and not within the

22   possession, custody and control of Plaintiff. Plaintiff objects to this request to the extent it purports

23   to request information that is within the public domain and accordingly is at least as easily obtained

24   by the Defendants. Plaintiff objects to this request to the extent that it purports to request

25   information that is outside of the possession, custody or control of Plaintiff. Plaintiff objects to this

26   request as overly burdensome to the extent it purports to request documents that are, or should be,

27   within the possession custody and control of one or more of the Defendants. Plaintiff further

28   objects to this request as beyond the scope of the claims and defenses of the lawsuit between the
                                                            26                                           APP087
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 1   parties.

 2              Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 3   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 4   to the extent that such information exists.

 5

 6   REQUEST NO. 23:

 7   Please produce the Agreement/Declaration of Trust between Tiger Resorts Asia Limited and Okada,

 8   entrusting to Okada one (1) share of stock in Tiger Resorts Leisure and Entertainment, Inc.
 9   OBJECTIONS AND RESPONSE:
10              Plaintiff incorporates each of its General Objections and Objections to Definitions and
11   Instructions as if fully set forth herein.
12              Plaintiff objects to this request to the extent it purports to request information that is neither
13   relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of
14   admissible evidence. Plaintiff objects to this request to the extent it purports to request information
15   that is in the possession, custody or control of third parties to this lawsuit and not within the
16   possession, custody and control of Plaintiff. Plaintiff objects to this request to the extent it purports
17   to request information that is within the public domain and accordingly is at least as easily obtained
18   by the Defendants. Plaintiff objects to this request to the extent that it purports to request

19   information that is outside of the possession, custody or control of Plaintiff. Plaintiff objects to this

20   request as overly burdensome to the extent it purports to request documents that are, or should be,

21   within the possession custody and control of one or more of the Defendants. Plaintiff further

22   objects to this request as beyond the scope of the claims and defenses of the lawsuit between the

23   parties.

24              Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

25   search, Plaintiff will produce responsive, non-privileged information within its custody and control

26   to the extent that such information exists.

27   //

28   //
                                                            27                                           APP088
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 1   REQUEST NO. 24:

 2   Please produce the Tiger Resorts Asia Limited Resolution dated June 13, 2017, revoking the

 3   Agreement/Declaration of Trust between Tiger Resorts Asia Limited and Okada, entrusting to

 4   Okada one (1) share of stock in Tiger Resorts Leisure and Entertainment, Inc.

 5   OBJECTIONS AND RESPONSE:

 6              Plaintiff incorporates each of its General Objections and Objections to Definitions and

 7   Instructions as if fully set forth herein.

 8              Plaintiff objects to this request to the extent it purports to request information that is neither
 9   relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of
10   admissible evidence. Plaintiff objects to this request to the extent it purports to request information
11   that is in the possession, custody or control of third parties to this lawsuit and not within the
12   possession, custody and control of Plaintiff. Plaintiff objects to this request to the extent it purports
13   to request information that is within the public domain and accordingly is at least as easily obtained
14   by the Defendants. Plaintiff objects to this request to the extent that it purports to request
15   information that is outside of the possession, custody or control of Plaintiff. Plaintiff objects to this
16   request as overly burdensome to the extent it purports to request documents that are, or should be,
17   within the possession custody and control of one or more of the Defendants. Plaintiff further
18   objects to this request as beyond the scope of the claims and defenses of the lawsuit between the

19   parties.

20              Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

21   search, Plaintiff will produce responsive, non-privileged information within its custody and control

22   to the extent that such information exists.

23

24   REQUEST NO. 25:

25   Please produce the Tiger Resorts Leisure and Entertainment, Inc. Resolution and Minutes of

26   Shareholders’ Meeting Implementing the Removal of Mr. Okada as a Director, in relation to the

27   Documents requested in Requests No. 23 and 24.

28   //
                                                            28                                           APP089
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 1   OBJECTIONS AND RESPONSE:

 2           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 3   Instructions as if fully set forth herein.

 4           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 5   which are subject to more than one reasonable interpretation: “Director,” as the request does not

 6   specify what Directorship it refers to. Plaintiff objects to this request to the extent it purports to

 7   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

 8   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the
 9   extent it purports to request information that is in the possession, custody or control of third parties
10   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to
11   this request to the extent it purports to request information that is within the public domain and
12   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the
13   extent that it purports to request information that is outside of the possession, custody or control of
14   Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports to request
15   documents that are, or should be, within the possession custody and control of one or more of the
16   Defendants.    Plaintiff further objects to this request as beyond the scope of the claims and defenses
17   of the lawsuit between the parties.
18           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

19   search, Plaintiff will produce responsive, non-privileged information within its custody and control

20   to the extent that such information exists.

21

22   REQUEST NO. 26:

23   Please produce UEC’s Former Affiliate Company Management Rules and current Subsidiary

24   Company Rules (effective March 1, 2010).

25   OBJECTIONS AND RESPONSE:

26           Plaintiff incorporates each of its General Objections and Objections to Definitions and

27   Instructions as if fully set forth herein.

28           Plaintiff objects to this request to the extent it purports to request information that is neither
                                                         29                                           APP090
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 1   relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of

 2   admissible evidence. Plaintiff objects to this request as overly burdensome to the extent it purports

 3   to request documents that are, or should be, within the possession custody and control of one or

 4   more of the Defendants.

 5           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 6   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 7   to the extent that such information exists.

 8
 9   REQUEST NO. 27:
10   Please produce all Documents Concerning share transfers made by shareholders of Universal

11   Sales Co., Ltd. from 1991-1994, including, without limitation, all stock ledgers of Universal Sales

12   Co., Ltd.

13   OBJECTIONS AND RESPONSE:

14           Plaintiff incorporates each of its General Objections and Objections to Definitions and

15   Instructions as if fully set forth herein.

16           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

17   purports to request the production of “all” or “each and every” document in the requested category

18   of documents. Such a request for all documents is unduly burdensome in particular given the

19   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

20   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

21   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

22   reasonable list of custodians whose job responsibilities would indicate that they were in possession

23   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

24   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

25   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the

26   extent that it is not reasonably limited to a time period relevant to the causes of action and claims at

27   issue in this lawsuit.

28   Plaintiff objects to this request as overly burdensome to the extent it purports to request documents
                                                        30                                           APP091
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 1   that are, or should be, within the possession custody and control of one or more of the Defendants.

 2   Plaintiff further objects to this request as beyond the scope of the claims and defenses of the lawsuit

 3   between the parties.

 4           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 5   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 6   to the extent that such information exists.

 7

 8   REQUEST NO. 28:
 9   Please produce all Documents Concerning share transfers made by shareholders of UEC from 2009-

10   2011, including, without limitation, all stock ledgers of UEC.

11   OBJECTIONS AND RESPONSE:

12           Plaintiff incorporates each of its General Objections and Objections to Definitions and

13   Instructions as if fully set forth herein.

14           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

15   purports to request the production of “all” or “each and every” document in the requested category

16   of documents. Such a request for all documents is unduly burdensome in particular given the

17   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

18   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

19   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

20   reasonable list of custodians whose job responsibilities would indicate that they were in possession

21   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

22   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

23   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request as overly

24   burdensome to the extent it purports to request documents that are, or should be, within the

25   possession custody and control of one or more of the Defendants.       Plaintiff further objects to this

26   request as beyond the scope of the claims and defenses of the lawsuit between the parties.

27           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

28   search, Plaintiff will produce responsive, non-privileged information within its custody and control
                                                        31                                           APP092
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 1   to the extent that such information exists.

 2

 3   REQUEST NO. 29:

 4   Please produce all Documents Concerning share transfers made by shareholders of UEC in 2017,

 5   including, without limitation, all stock ledgers of UEC.

 6   OBJECTIONS AND RESPONSE:

 7           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 8   Instructions as if fully set forth herein.
 9           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
10   purports to request the production of “all” or “each and every” document in the requested category
11   of documents. Such a request for all documents is unduly burdensome in particular given the
12   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
13   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
14   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
15   reasonable list of custodians whose job responsibilities would indicate that they were in possession
16   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
17   request information that is neither relevant to the subject matter of this lawsuit nor reasonably
18   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request as overly

19   burdensome to the extent it purports to request documents that are, or should be, within the

20   possession custody and control of one or more of the Defendants.       Plaintiff further objects to this

21   request as beyond the scope of the claims and defenses of the lawsuit between the parties.

22           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

23   search, Plaintiff will produce responsive, non-privileged information within its custody and control

24   to the extent that such information exists.

25

26                                                    Patent

27   REQUEST NO. 30:

28   Please produce all Documents Concerning all steps or efforts taken by UEC to enforce any of the
                                                        32                                           APP093
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 1   Asserted Patents against any person, including, but not limited to, charges of infringement of any of

 2   the Asserted Patents.

 3   OBJECTIONS AND RESPONSE:

 4           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 5   Instructions as if fully set forth herein.

 6           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 7   which are subject to more than one reasonable interpretation: “all Documents Concerning” “all

 8   steps or efforts” “charges of infringement”. Plaintiff will undertake to interpret these terms as they
 9   would in ordinary usage given the context. Plaintiff objects to this request as overly broad and
10   unduly burdensome inasmuch as it purports to request the production of “all” or “each and every”
11   document in the requested category of documents. Such a request for all documents is unduly
12   burdensome in particular given the extremely broad definitions of “Document” supplied by
13   Defendants and, consequently, the request purports to require Plaintiff to collect documents from
14   potentially every employee, agent or attorney of Plaintiff rather than conduct a reasonable
15   investigation that collects responsive documents from a reasonable list of custodians whose job
16   responsibilities would indicate that they were in possession of potentially responsive
17   information. Plaintiff objects to this request to the extent it purports to request the production of
18   information subject to the attorney-client privilege, the work product doctrine or any other

19   recognized privilege or immunity.       Plaintiff objects to this request to the extent it purports to

20   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

21   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the

22   extent that it is not reasonably limited to a time period relevant to the causes of action and claims at

23   issue in this lawsuit. Plaintiff further objects to this request as beyond the scope of the claims and

24   defenses of the lawsuit between the parties.

25           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

26   search, Plaintiff will produce responsive, non-privileged information within its custody and control

27   to the extent that such information exists.

28   //
                                                          33                                            APP094
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 1   REQUEST NO. 31:

 2   Please produce all Documents in support of paragraph 69 of the Second Amended Complaint,

 3   which states “Because of Okada’s actual knowledge of the Asserted Patents, AGA also had actual

 4   knowledge of the Asserted Patents.”

 5   OBJECTIONS AND RESPONSE:

 6           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 7   Instructions as if fully set forth herein.

 8           Plaintiff objects to this request to the extent it purports to request information that is within
 9   the public domain and accordingly is at least as easily obtained by the Defendants. Plaintiff objects
10   to this request to the extent that it purports to request information that is outside of the possession,
11   custody or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it
12   purports to request documents that are, or should be, within the possession custody and control of
13   one or more of the Defendants.
14           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
15   search, Plaintiff will produce responsive, non-privileged information within its custody and control
16   to the extent that such information exists.
17

18   REQUEST NO. 32:

19   Please produce all Documents in support of paragraph 70 of the Second Amended Complaint,

20   which states “Upon information and belief, Okada directed employees of AGA located in Nevada

21   to develop and produce the Accused Products, which made use of the technology claimed in the

22   Asserted Patents, without obtaining a license or permission from UEC, and thereby infringing the

23   Asserted Patents.”

24   OBJECTIONS AND RESPONSE:

25           Plaintiff incorporates each of its General Objections and Objections to Definitions and

26   Instructions as if fully set forth herein.

27           Plaintiff objects to this request to the extent it purports to request information that is within

28   the public domain and accordingly is at least as easily obtained by the Defendants.
                                                         34                                           APP095
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 1   Plaintiff objects to this request to the extent that it purports to request information that is outside of

 2   the possession, custody or control of Plaintiff. Plaintiff objects to this request as overly burdensome

 3   to the extent it purports to request documents that are, or should be, within the possession custody

 4   and control of one or more of the Defendants.

 5           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 6   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 7   to the extent that such information exists.

 8
 9   REQUEST NO. 33:
10   Please produce all Documents in support of paragraph 71 of the Second Amended Complaint,

11   which states, “AGA provided no benefit or compensation to UEC for its exploitation of the

12   Asserted Patents; AGA never entered into a license agreement with UEC.”

13   OBJECTIONS AND RESPONSE:

14           Plaintiff incorporates each of its General Objections and Objections to Definitions and

15   Instructions as if fully set forth herein.

16           Plaintiff objects to this request to the extent it purports to request information that is within

17   the public domain and accordingly is at least as easily obtained by the Defendants. Plaintiff objects

18   to this request to the extent that it purports to request information that is outside of the possession,

19   custody or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it

20   purports to request documents that are, or should be, within the possession custody and control of

21   one or more of the Defendants.

22           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

23   search, Plaintiff will produce responsive, non-privileged information within its custody and control

24   to the extent that such information exists.

25

26   REQUEST NO. 34:

27   Please produce all Documents in support of paragraph 72 of the Second Amended Complaint,

28   which states “UEC did not learn of AGA’s unauthorized use of UEC’s patent rights, including the
                                                         35                                           APP096
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 1   Asserted Patents, until UEC began investigating Okada’s misconduct in 2017.”

 2   OBJECTIONS AND RESPONSE:

 3           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 4   Instructions as if fully set forth herein.

 5           Plaintiff objects to this request to the extent it purports to request the production of

 6   information subject to the attorney-client privilege, the work product doctrine or any other

 7   recognized privilege or immunity. Plaintiff objects to this request to the extent that it purports to

 8   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff
 9   objects to this request as overly burdensome to the extent it purports to request documents that are,
10   or should be, within the possession custody and control of one or more of the Defendants.
11           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
12   search, Plaintiff will produce responsive, non-privileged information within its custody and control
13   to the extent that such information exists.
14

15   REQUEST NO. 35:
16   Please produce all Documents Concerning the preparation, filing, and prosecution of each Asserted

17   Patent, Related Patent, and Related Application, including, without limitation, all draft and final

18   versions of the invention disclosure, the application(s), a copy of the prosecution history, draft

19   versions of the application(s), draft versions of responses to office actions, and all communications

20   regarding the preparation, filing, prosecution, abandonment, and revival of such patent applications.

21   OBJECTIONS AND RESPONSE:

22           Plaintiff incorporates each of its General Objections and Objections to Definitions and

23   Instructions as if fully set forth herein.

24           Plaintiff objects to this request to the extent it purports to request the production of

25   information subject to the attorney-client privilege, the work product doctrine or any other

26   recognized privilege or immunity. Plaintiff objects to this request to the extent it purports to request

27   information that is within the public domain and accordingly is at least as easily obtained by the

28   Defendants from the PAIR database of the USPTO.
                                                         36                                             APP097
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 1           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 2   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 3   to the extent that such information exists.

 4

 5   REQUEST NO. 36:

 6   Please produce all Documents Concerning UEC’s contention that AGA has willfully infringed any

 7   Asserted Claim.

 8   OBJECTIONS AND RESPONSE:
 9           Plaintiff incorporates each of its General Objections and Objections to Definitions and
10   Instructions as if fully set forth herein.
11           Plaintiff objects to this request to the extent it purports to request the production of
12   information subject to the attorney-client privilege, the work product doctrine or any other
13   recognized privilege or immunity. Plaintiff objects to this request to the extent that it purports to
14   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff
15   objects to this request as overly burdensome to the extent it purports to request documents that are,
16   or should be, within the possession custody and control of one or more of the Defendants.
17           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
18   search, Plaintiff will produce responsive, non-privileged information within its custody and control

19   to the extent that such information exists.

20

21   REQUEST NO. 37:

22   Please produce all Documents Concerning UEC’s contention that AGA has induced the

23   infringement of any Asserted Claim.

24   OBJECTIONS AND RESPONSE:

25           Plaintiff incorporates each of its General Objections and Objections to Definitions and

26   Instructions as if fully set forth herein.

27           Plaintiff objects to this request to the extent it purports to request the production of

28   information subject to the attorney-client privilege, the work product doctrine or any other
                                                         37                                             APP098
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 1   recognized privilege or immunity. Plaintiff objects to this request to the extent that it purports to

 2   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff

 3   objects to this request as overly burdensome to the extent it purports to request documents that are,

 4   or should be, within the possession custody and control of one or more of the Defendants.

 5           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 6   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 7   to the extent that such information exists.

 8
 9   REQUEST NO. 38:
10   Please produce all Documents Concerning UEC’s contention that AGA has contributorily infringed

11   any Asserted Claim.

12   OBJECTIONS AND RESPONSE:

13           Plaintiff incorporates each of its General Objections and Objections to Definitions and

14   Instructions as if fully set forth herein.

15           Plaintiff objects to this request to the extent it purports to request the production of

16   information subject to the attorney-client privilege, the work product doctrine or any other

17   recognized privilege or immunity. Plaintiff objects to this request to the extent that it purports to

18   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff

19   objects to this request as overly burdensome to the extent it purports to request documents that are,

20   or should be, within the possession custody and control of one or more of the Defendants.

21           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

22   search, Plaintiff will produce responsive, non-privileged information within its custody and control

23   to the extent that such information exists.

24

25   REQUEST NO. 39:

26   Please produce all Documents Concerning any UEC policy or procedure for acquisitions, mergers,

27   or asset purchases, including Documents explaining or identifying any due diligence procedure, any

28   investigation procedure, any intellectual property valuation procedure, and any technology transfer
                                                         38                                             APP099
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 1   procedure since January 1, 2007.

 2   OBJECTIONS AND RESPONSE:

 3           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 4   Instructions as if fully set forth herein.

 5           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 6   which are subject to more than one reasonable interpretation: “all Documents Concerning” “any

 7   UEC policy” “Documents explaining”. Plaintiff will undertake to interpret these terms as they

 8   would in ordinary usage given the context. Plaintiff objects to this request as overly broad and
 9   unduly burdensome inasmuch as it purports to request the production of “all” or “each and every”
10   document in the requested category of documents. Such a request for all documents is unduly
11   burdensome in particular given the extremely broad definitions of “Document” supplied by
12   Defendants and, consequently, the request purports to require Plaintiff to collect documents from
13   potentially every employee, agent or attorney of Plaintiff rather than conduct a reasonable
14   investigation that collects responsive documents from a reasonable list of custodians whose job
15   responsibilities would indicate that they were in possession of potentially responsive
16   information. Plaintiff objects to this request to the extent it purports to request the production of
17   information subject to the attorney-client privilege, the work product doctrine or any other
18   recognized privilege or immunity. Plaintiff objects to this request to the extent it purports to

19   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

20   calculated to lead to the discovery of admissible evidence. Plaintiff further objects to this request as

21   beyond the scope of the claims and defenses of the lawsuit between the parties.

22           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

23   search, Plaintiff will produce responsive, non-privileged information within its custody and control

24   to the extent that such information exists.

25

26   REQUEST NO. 40:

27   Please produce all Documents Concerning any technical or industry conference, symposium, trade

28   show, standards committee(s), or meeting concerning the subject matter of any of the Asserted
                                                        39                                          APP100
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 1   Patents attended by any of the Named Inventors anywhere in the world before the filing of the

 2   corresponding Related Applications, including but not limited to all Documents showing the

 3   attendance by any of the Named Inventors, notes by any of the Named Inventors, and Documents

 4   received at the conference, symposium, trade show, standards committee(s) or meeting since

 5   December 1, 1997 as to Mr. Sekine, and January 1, 2017 as to all other Named Inventors.

 6   OBJECTIONS AND RESPONSE:

 7           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 8   Instructions as if fully set forth herein.
 9           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
10   which are subject to more than one reasonable interpretation: “All Documents
11   Concerning”. Plaintiff will undertake to interpret these terms as they would in ordinary usage given
12   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
13   purports to request the production of “all” or “each and every” document in the requested category
14   of documents. Such a request for all documents is unduly burdensome in particular given the
15   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
16   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
17   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
18   reasonable list of custodians whose job responsibilities would indicate that they were in possession

19   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

20   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

21   calculated to lead to the discovery of admissible evidence.

22           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

23   search, Plaintiff will produce responsive, non-privileged information within its custody and control

24   to the extent that such information exists.

25

26   REQUEST NO. 41:

27   Please produce all Documents Concerning, or on which UEC intends to rely in support of, UEC’s

28   contention that any of the Asserted Patents are valid.
                                                        40                                           APP101
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 1   OBJECTIONS AND RESPONSE:

 2           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 3   Instructions as if fully set forth herein.

 4           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 5   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

 6   “intends to rely in support of.” Plaintiff will undertake to interpret these terms as they would in

 7   ordinary usage given the context. Plaintiff objects to this request to the extent it purports to request

 8   the production of information subject to the attorney-client privilege, the work product doctrine or
 9   any other recognized privilege or immunity. Plaintiff further objects to this request as premature
10   inasmuch as discovery in this case has just begun and the Plaintiff has not yet completed its
11   investigation of the relevant facts, the Court has not rendered any rulings or claim constructions and
12   the parties have not completed expert discovery.
13           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
14   search, Plaintiff will produce responsive, non-privileged information within its custody and control
15   to the extent that such information exists.
16

17   REQUEST NO. 42:
18   Please produce all Documents Concerning any alleged secondary indicia of non-obviousness,

19   including without limitation:

20           (a)     any long-felt need for the alleged inventions claimed or technology disclosed in

21                   any of the Asserted Patents;

22           (b)     any failure in the relevant art to solve the problems that are the subjects of the alleged

23                   inventions claimed or technology disclosed in any of the Asserted Patents;

24           (c)     any commercial success of the alleged inventions claimed or technology disclosed in

25                   any of the Asserted Patents;

26           (d)     any industry recognition or praise of the alleged inventions claimed or technology

27                   disclosed in any of the Asserted Patents;

28
                                                        41                                           APP102
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 1           (e)     any copying or adoption by others of the alleged inventions claimed or technology

 2                   disclosed in any of the Asserted Patents;

 3           (f)     any skepticism towards the alleged inventions claimed or technology disclosed in any

 4                   of the Asserted Patents;

 5           (g)     any commercial acquiescence of competitors to license the alleged inventions claimed

 6                   or technology disclosed in any of the Asserted Patents;

 7           (h)     any failure of others to independently develop the alleged inventions claimed or

 8                   technology disclosed in any of the Asserted Patents;
 9           (i)     any prior litigation regarding the alleged inventions claimed or technology disclosed
10                   in any of the Asserted Patents; or
11           (j)     any surprise towards the capabilities of the alleged inventions claimed or the
12                   technology disclosed in any of the Asserted Patents.
13   OBJECTIONS AND RESPONSE:
14           Plaintiff incorporates each of its General Objections and Objections to Definitions and
15   Instructions as if fully set forth herein.
16           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
17   which are subject to more than one reasonable interpretation: “secondary indicia of non-
18   obviousness, “commercial success” “skepticism” “commercial acquiescence” “failure of others to

19   independently develop” “surprise towards the capabilities.” Plaintiff will undertake to interpret

20   these terms as they would in ordinary usage given the context. Plaintiff objects to this request as

21   overly broad and unduly burdensome inasmuch as it purports to request the production of “all” or

22   “each and every” document in the requested category of documents. Such a request for all

23   documents is unduly burdensome in particular given the extremely broad definitions of “Document”

24   supplied by Defendants and, consequently, the request purports to require Plaintiff to collect

25   documents from potentially every employee, agent or attorney of Plaintiff rather than conduct a

26   reasonable investigation that collects responsive documents from a reasonable list of custodians

27   whose job responsibilities would indicate that they were in possession of potentially responsive

28   information. Plaintiff further objects to this request as overly broad and unduly burdensome to the
                                                          42                                       APP103
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 1   extent it is compound. Plaintiff further objects to this request as overly broad and unduly

 2   burdensome to the extent it is open ended (“including without limitation”), which requires the

 3   Plaintiff to guess as to what information beyond the numerous categories of information that

 4   Defendants actually seek. Plaintiff objects to this request to the extent it purports to request the

 5   production of information subject to the attorney-client privilege, the work product doctrine or any

 6   other recognized privilege or immunity. Plaintiff objects to this request to the extent it purports to

 7   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

 8   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the
 9   extent it purports to request information that is in the possession, custody or control of third parties
10   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to
11   this request to the extent it purports to request information that is within the public domain and
12   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request as
13   overly burdensome to the extent it purports to request documents that are, or should be, within the
14   possession custody and control of one or more of the Defendants.        Plaintiff objects to this request
15   as overly burdensome to the extent it purports to duplicate or overlap in subject matter with other
16   requests propounded by the Defendants.
17           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
18   search, Plaintiff will produce responsive, non-privileged information within its custody and control

19   to the extent that such information exists.

20

21   REQUEST NO. 43:

22   Please produce all publications authored or co-authored by any of the Named Inventors, which pre-

23   date the filing date of any of the Asserted Patents on which such a Named Inventor is so named.

24   OBJECTIONS AND RESPONSE:

25           Plaintiff incorporates each of its General Objections and Objections to Definitions and

26   Instructions as if fully set forth herein.

27           Plaintiff objects to this request to the extent it purports to request information that is neither

28   relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of
                                                         43                                           APP104
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 1   admissible evidence. Plaintiff objects to this request to the extent it purports to request information

 2   that is in the possession, custody or control of third parties to this lawsuit and not within the

 3   possession, custody and control of Plaintiff. Plaintiff objects to this request to the extent it purports

 4   to request information that is within the public domain and accordingly is at least as easily obtained

 5   by the Defendants. Plaintiff objects to this request to the extent that it purports to request

 6   information that is outside of the possession, custody or control of Plaintiff. Plaintiff objects to this

 7   request as overly burdensome to the extent it purports to request documents that are, or should be,

 8   within the possession custody and control of one or more of the Defendants.
 9           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
10   search, Plaintiff will produce responsive, non-privileged information within its custody and control
11   to the extent that such information exists.
12

13   REQUEST NO. 44:
14   Please produce all Documents Concerning all Prior Art known to UEC, any Named Inventor,

15   and/or Patent Counsel that pertains to the subject matter claimed in any of the Asserted Patents,

16   whether or not cited to the U.S. Patent and Trademark Office.

17   OBJECTIONS AND RESPONSE:

18           Plaintiff incorporates each of its General Objections and Objections to Definitions and

19   Instructions as if fully set forth herein.

20           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

21   purports to request the production of “all” or “each and every” document in the requested category

22   of documents. Such a request for all documents is unduly burdensome in particular given the

23   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

24   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

25   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

26   reasonable list of custodians whose job responsibilities would indicate that they were in possession

27   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

28   request information that is neither relevant to the subject matter of this lawsuit nor reasonably
                                                        44                                            APP105
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 1   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the

 2   extent it purports to request the production of information subject to the attorney-client privilege,

 3   the work product doctrine or any other recognized privilege or immunity. Plaintiff objects to this

 4   request to the extent it purports to request information that is in the possession, custody or control of

 5   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff

 6   objects to this request to the extent it purports to request information that is within the public

 7   domain and accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this

 8   request to the extent that it purports to request information that is outside of the possession, custody
 9   or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports
10   to request documents that are, or should be, within the possession custody and control of one or
11   more of the Defendants.
12           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
13   search, Plaintiff will produce responsive, non-privileged information within its custody and control
14   to the extent that such information exists.
15

16   REQUEST NO. 45:
17   Please produce all employment or consulting agreements between UEC or others (including

18   predecessor and UEC-acquired entities) and any of the Named Inventors.

19   OBJECTIONS AND RESPONSE:

20           Plaintiff incorporates each of its General Objections and Objections to Definitions and

21   Instructions as if fully set forth herein.

22           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

23   purports to request the production of “all” or “each and every” document in the requested category

24   of documents. Such a request for all documents is unduly burdensome in particular given the

25   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

26   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

27   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

28   reasonable list of custodians whose job responsibilities would indicate that they were in possession
                                                        45                                           APP106
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 1   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

 2   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

 3   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the

 4   extent that it is not reasonably limited to a time period relevant to the causes of action and claims at

 5   issue in this lawsuit. Plaintiff objects to this request as overly burdensome to the extent it purports

 6   to duplicate or overlap in subject matter with other requests propounded by the Defendants.

 7   Plaintiff further objects to this request as beyond the scope of the claims and defenses of the lawsuit

 8   between the parties.
 9           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
10   search, Plaintiff will produce responsive, non-privileged information within its custody and control
11   to the extent that such information exists.
12

13   REQUEST NO. 46:
14   Please produce all opinions of counsel Concerning the validity, enforceability, infringement, or non-

15   infringement of any of the Asserted Patents.

16   OBJECTIONS AND RESPONSE:

17           Plaintiff incorporates each of its General Objections and Objections to Definitions and

18   Instructions as if fully set forth herein.

19           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

20   which are subject to more than one reasonable interpretation: “all opinions of counsel Concerning.”

21   Plaintiff will undertake to interpret these terms as they would in ordinary usage given the

22   context. Plaintiff objects to this request to the extent it purports to request the production of

23   information subject to the attorney-client privilege, the work product doctrine or any other

24   recognized privilege or immunity. Plaintiff notes that this request expressly requests information

25   covered by both the attorney-client privilege and work product doctrine. Plaintiff further objects to

26   this request as premature inasmuch as discovery in this case has just begun and the Plaintiff has not

27   yet completed its investigation of the relevant facts, the Court has not rendered any rulings or claim

28   constructions and the parties have not completed expert discovery.
                                                        46                                           APP107
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 1           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 2   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 3   to the extent that such information exists.

 4

 5   REQUEST NO. 47:

 6   Please produce all affidavits, trial or deposition testimony, exhibits for such testimony, declarations,

 7   or other sworn statements of which UEC is aware Concerning any of the Asserted Patents and/or

 8   the inventions claimed in any of any Asserted Patents.
 9   OBJECTIONS AND RESPONSE:
10           Plaintiff incorporates each of its General Objections and Objections to Definitions and
11   Instructions as if fully set forth herein.
12           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
13   purports to request the production of “all” or “each and every” document in the requested category
14   of documents. Such a request for all documents is unduly burdensome in particular given the
15   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
16   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
17   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
18   reasonable list of custodians whose job responsibilities would indicate that they were in possession

19   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

20   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

21   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the

22   extent it purports to request information that is in the possession, custody or control of third parties

23   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to

24   this request to the extent that it purports to request information that is outside of the possession,

25   custody or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it

26   purports to request documents that are, or should be, within the possession custody and control of

27   one or more of the Defendants.      Plaintiff objects to this request as overly burdensome to the extent

28   it purports to duplicate or overlap in subject matter with other requests propounded by the
                                                        47                                           APP108
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 1   Defendants.

 2           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 3   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 4   to the extent that such information exists.

 5

 6   REQUEST NO. 48:

 7   Please produce all UEC and any UEC-acquired entity board and executive notes, minutes, agendas,

 8   or memoranda making any reference to any of the Asserted Patents, this litigation, or AGA.
 9   OBJECTIONS AND RESPONSE:
10           Plaintiff incorporates each of its General Objections and Objections to Definitions and
11   Instructions as if fully set forth herein.
12           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
13   purports to request the production of “all” or “each and every” document in the requested category
14   of documents. Such a request for all documents is unduly burdensome in particular given the
15   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
16   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
17   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
18   reasonable list of custodians whose job responsibilities would indicate that they were in possession

19   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

20   request the production of information subject to the attorney-client privilege, the work product

21   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the

22   extent it purports to request information that is neither relevant to the subject matter of this lawsuit

23   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

24   request as overly burdensome to the extent it purports to request documents that are, or should be,

25   within the possession custody and control of one or more of the Defendants. Plaintiff further

26   objects to this request as premature inasmuch as discovery in this case has just begun and the

27   Plaintiff has not yet completed its investigation of the relevant facts, the Court has not rendered any

28   rulings or claim constructions and the parties have not completed expert discovery.
                                                        48                                           APP109
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 1           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 2   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 3   to the extent that such information exists.

 4

 5   REQUEST NO. 49:

 6   Please produce all Documents Concerning any of the Asserted Patents and any of the Related

 7   Applications that matured into any of the Asserted Patents, including but not limited to Documents

 8   Concerning the references cited in any of the Asserted Patents and communications with third
 9   parties about any of the Asserted Patents.
10   OBJECTIONS AND RESPONSE:
11           Plaintiff incorporates each of its General Objections and Objections to Definitions and
12   Instructions as if fully set forth herein.
13           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
14   which are subject to more than one reasonable interpretation: “all Documents
15   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given
16   the context. Plaintiff further objects to this request as vague and ambiguous to the extent it is
17   compound. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
18   purports to request the production of “all” or “each and every” document in the requested category

19   of documents. Such a request for all documents is unduly burdensome in particular given the

20   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

21   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

22   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

23   reasonable list of custodians whose job responsibilities would indicate that they were in possession

24   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

25   request the production of information subject to the attorney-client privilege, the work product

26   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the extent

27   it purports to request information that is in the possession, custody or control of third parties to this

28   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this
                                                        49                                           APP110
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 1   request to the extent it purports to request information that is within the public domain and

 2   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the

 3   extent that it purports to request information that is outside of the possession, custody or control of

 4   Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports to request

 5   documents that are, or should be, within the possession custody and control of one or more of the

 6   Defendants.    Plaintiff objects to this request as overly burdensome to the extent it purports to

 7   duplicate or overlap in subject matter with other requests propounded by the Defendants.

 8           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
 9   search, Plaintiff will produce responsive, non-privileged information within its custody and control
10   to the extent that such information exists.
11

12   REQUEST NO. 50:
13   Please produce all Documents Concerning the best mode of carrying out the subject matter

14   disclosed or claimed in any of the Asserted Patents known to any of the Named Inventors at any

15   time prior to the filing of any of the Related Applications.

16   OBJECTIONS AND RESPONSE:

17           Plaintiff incorporates each of its General Objections and Objections to Definitions and

18   Instructions as if fully set forth herein.

19           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

20   which are subject to more than one reasonable interpretation: “best mode”. Plaintiff will undertake

21   to interpret these terms as they would in ordinary usage given the context. Plaintiff objects to this

22   request to the extent it purports to request information that is neither relevant to the subject matter

23   of this lawsuit nor reasonably calculated to lead to the discovery of admissible evidence. The “best

24   mode” requirement of patents in the United States is not a basis for invalidating any patent claim.

25   Plaintiff objects to this request to the extent that it is not reasonably limited to a time period relevant

26   to the causes of action and claims at issue in this lawsuit.

27           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

28   search, Plaintiff will produce responsive, non-privileged information within its custody and control
                                                         50                                           APP111
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 1   to the extent that such information exists.

 2

 3   REQUEST NO. 51:

 4   Please produce all Documents Concerning any experimentation or analysis of the subject matter of

 5   the claims of any Asserted Patent conducted by or for UEC or by any third party prior to each filing

 6   date of each of the Asserted Patents.

 7   OBJECTIONS AND RESPONSE:

 8           Plaintiff incorporates each of its General Objections and Objections to Definitions and
 9   Instructions as if fully set forth herein.
10           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
11   which are subject to more than one reasonable interpretation: “Documents Concerning” and “any
12   experimentation or analysis of the subject matter.” Plaintiff will undertake to interpret these terms
13   as they would in ordinary usage given the context. Plaintiff objects to this request to the extent it
14   purports to request information that is neither relevant to the subject matter of this lawsuit nor
15   reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this
16   request to the extent that it is not reasonably limited to a time period relevant to the causes of action
17   and claims at issue in this lawsuit.
18           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

19   search, Plaintiff will produce responsive, non-privileged information within its custody and control

20   to the extent that such information exists.

21

22   REQUEST NO. 52:

23   Please produce all Patents, Related Applications, Related Patents, patent file histories, and

24   Documents or files Concerning all patents on which any of the Named Inventors is a named

25   inventor. This request is limited to Documents created prior to the issue date of the Asserted Patent

26   on which a named Inventor is so named.

27   OBJECTIONS AND RESPONSE:

28           Plaintiff incorporates each of its General Objections and Objections to Definitions and
                                                        51                                           APP112
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 1   Instructions as if fully set forth herein.

 2           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 3   which are subject to more than one reasonable interpretation: “patent file histories” and “files

 4   Concerning.” Plaintiff objects to this request to the extent it purports to request information that is

 5   neither relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the

 6   discovery of admissible evidence. Plaintiff objects to this request to the extent that it is not

 7   reasonably limited to a time period relevant to the causes of action and claims at issue in this

 8   lawsuit. Plaintiff further objects to this request as beyond the scope of the claims and defenses of
 9   the lawsuit between the parties. Plaintiff objects to this request to the extent that it purports to
10   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff
11   objects to this request as overly burdensome to the extent it purports to request documents that are,
12   or should be, within the possession custody and control of one or more of the Defendants. Plaintiff
13   objects to this request as overly burdensome to the extent it purports to duplicate or overlap in
14   subject matter with other requests propounded by the Defendants. Plaintiff objects to this request to
15   the extent it purports to request information that is within the public domain and accordingly is at
16   least as easily obtained by the Defendants.
17           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
18   search, Plaintiff will produce responsive, non-privileged information within its custody and control

19   to the extent that such information exists.

20

21   REQUEST NO. 53:

22   Please produce, for each Named Inventor, Documents sufficient to show the background, education,

23   and work history of such person.

24   OBJECTIONS AND RESPONSE:

25           Plaintiff incorporates each of its General Objections and Objections to Definitions and

26   Instructions as if fully set forth herein.

27           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

28   which are subject to more than one reasonable interpretation: “background.” Plaintiff objects to
                                                         52                                             APP113
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 1   this request as overly broad and unduly burdensome inasmuch as it purports to request the

 2   production of “all” or “each and every” document in the requested category of documents. Such a

 3   request for all documents is unduly burdensome in particular given the extremely broad definitions

 4   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

 5   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

 6   conduct a reasonable investigation that collects responsive documents from a reasonable list of

 7   custodians whose job responsibilities would indicate that they were in possession of potentially

 8   responsive information. Plaintiff objects to this request to the extent it purports to request
 9   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to
10   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it
11   purports to request information that is in the possession, custody or control of third parties to this
12   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this
13   request to the extent that it is not reasonably limited to a time period relevant to the causes of action
14   and claims at issue in this lawsuit. Plaintiff objects to this request to the extent that it purports to
15   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff
16   further objects to this request as beyond the scope of the claims and defenses of the lawsuit between
17   the parties.
18           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

19   search, Plaintiff will produce responsive, non-privileged information within its custody and control

20   to the extent that such information exists.

21

22   REQUEST NO. 54:

23   Please produce all Documents Concerning tracking of time worked and tasks performed on the G-

24   ENEX project for all UEC employees and all AGA employees during the time AGA was affiliated

25   with UEC.

26   OBJECTIONS AND RESPONSE:

27           Plaintiff incorporates each of its General Objections and Objections to Definitions and

28   Instructions as if fully set forth herein.
                                                         53                                            APP114
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 1           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 2   which are subject to more than one reasonable interpretation: “all Documents Concerning,”

 3   “tracking of time worked” and “tasks performed.” Plaintiff objects to this request as overly broad

 4   and unduly burdensome inasmuch as it purports to request the production of “all” or “each and

 5   every” document in the requested category of documents. Such a request for all documents is

 6   unduly burdensome in particular given the extremely broad definitions of “Document” supplied by

 7   Defendants and, consequently, the request purports to require Plaintiff to collect documents from

 8   potentially every employee, agent or attorney of Plaintiff rather than conduct a reasonable
 9   investigation that collects responsive documents from a reasonable list of custodians whose job
10   responsibilities would indicate that they were in possession of potentially responsive
11   information. Plaintiff objects to this request to the extent it purports to request information that is
12   neither relevant to the subject matter of this lawsuit nor reasonably calculated to lead to the
13   discovery of admissible evidence.
14           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
15   search, Plaintiff will produce responsive, non-privileged information within its custody and control
16   to the extent that such information exists.
17

18   REQUEST NO. 55:

19   Please produce all employee records for Named Inventor Mr. Koichiro Hashimoto.

20   OBJECTIONS AND RESPONSE:

21           Plaintiff incorporates each of its General Objections and Objections to Definitions and

22   Instructions as if fully set forth herein.

23           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

24   which are subject to more than one reasonable interpretation: “employee records.” Plaintiff objects

25   to this request as overly broad and unduly burdensome inasmuch as it purports to request the

26   production of “all” or “each and every” document in the requested category of documents. Such a

27   request for all documents is unduly burdensome in particular given the extremely broad definitions

28   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff
                                                        54                                             APP115
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 1   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

 2   conduct a reasonable investigation that collects responsive documents from a reasonable list of

 3   custodians whose job responsibilities would indicate that they were in possession of potentially

 4   responsive information. Plaintiff objects to this request to the extent it purports to request

 5   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to

 6   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it

 7   purports to request information that is in the possession, custody or control of third parties to this

 8   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this
 9   request to the extent that it purports to request information that is outside of the possession, custody
10   or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports
11   to duplicate or overlap in subject matter with other requests propounded by the Defendants.
12           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
13   search, Plaintiff will produce responsive, non-privileged information within its custody and control
14   to the extent that such information exists.
15

16   REQUEST NO. 56:
17   Please produce all Documents Concerning product presentations made by AGA from April 1,

18   2007 to present, including but not limited to, photos, video recordings, and notes made by UEC

19   employees in attendance at AGA product presentations.

20   OBJECTIONS AND RESPONSE:

21           Plaintiff incorporates each of its General Objections and Objections to Definitions and

22   Instructions as if fully set forth herein.

23           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

24   which are subject to more than one reasonable interpretation: “Documents Concerning” and

25   “product presentations.” Plaintiff objects to this request as overly broad and unduly burdensome

26   inasmuch as it purports to request the production of “all” or “each and every” document in the

27   requested category of documents. Such a request for all documents is unduly burdensome in

28   particular given the extremely broad definitions of “Document” supplied by Defendants and,
                                                        55                                            APP116
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 1   consequently, the request purports to require Plaintiff to collect documents from potentially every

 2   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 3   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

 4   that they were in possession of potentially responsive information. Plaintiff objects to this request

 5   to the extent it purports to request information that is neither relevant to the subject matter of this

 6   lawsuit nor reasonably calculated to lead to the discovery of admissible evidence.

 7           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 8   search, Plaintiff will produce responsive, non-privileged information within its custody and control
 9   to the extent that such information exists.
10

11   REQUEST NO. 57:
12   Please produce all Documents upon which UEC intends to rely to establish the level of ordinary

13   skill in the art to which the subject matter of any of the claims of any Asserted Patents pertains.

14   OBJECTIONS AND RESPONSE:

15           Plaintiff incorporates each of its General Objections and Objections to Definitions and

16   Instructions as if fully set forth herein.

17           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

18   which are subject to more than one reasonable interpretation: “all Documents” and “establish the

19   level of ordinary skill in the art.” Plaintiff notes that each patent potentially has a different level of

20   ordinary skill. Plaintiff will undertake to interpret these terms as they would in ordinary usage

21   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

22   inasmuch as it purports to request the production of “all” or “each and every” document in the

23   requested category of documents. Such a request for all documents is unduly burdensome in

24   particular given the extremely broad definitions of “Document” supplied by Defendants and,

25   consequently, the request purports to require Plaintiff to collect documents from potentially every

26   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

27   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

28   that they were in possession of potentially responsive information. Plaintiff objects to this request
                                                         56                                           APP117
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 1   to the extent it purports to request information that is within the public domain and accordingly is at

 2   least as easily obtained by the Defendants. Plaintiff further objects to this request as overly broad

 3   inasmuch as the request is not specific as to the timeframe for “establish[ing] the level of ordinary

 4   skill in the art.”

 5           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 6   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 7   to the extent that such information exists.

 8
 9   REQUEST NO. 58:
10   Please produce all Documents Concerning UEC’s first awareness of any activities, products, or

11   services of AGA that form the basis for any accusation of infringement of any of the Asserted

12   Patents.

13   OBJECTIONS AND RESPONSE:

14           Plaintiff incorporates each of its General Objections and Objections to Definitions and

15   Instructions as if fully set forth herein.

16           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

17   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

18   “awareness.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

19   the context. Plaintiff objects to this request to the extent it purports to request the production of

20   information subject to the attorney-client privilege, the work product doctrine or any other

21   recognized privilege or immunity.

22           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

23   search, Plaintiff will produce responsive, non-privileged information within its custody and control

24   to the extent that such information exists.

25

26   REQUEST NO. 59:

27   Please produce all Documents Concerning any analysis of alleged infringement of any of the

28   Asserted Patents by any AGA product.
                                                        57                                          APP118
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 1   OBJECTIONS AND RESPONSE:

 2           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 3   Instructions as if fully set forth herein.

 4           Plaintiff objects to this request to the extent it purports to request the production of

 5   information subject to the attorney-client privilege, the work product doctrine or any other

 6   recognized privilege or immunity. Plaintiff further objects to this request as premature inasmuch as

 7   discovery in this case has just begun and the Plaintiff has not yet completed its investigation of the

 8   relevant facts, the Court has not rendered any rulings or claim constructions and the parties have not
 9   completed expert discovery.
10           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
11   search, Plaintiff will produce responsive, non-privileged information within its custody and control
12   to the extent that such information exists.
13

14   REQUEST NO. 60:
15   Please produce all Documents Concerning the basis for UEC’s allegations of AGA’s alleged

16   infringement.

17   OBJECTIONS AND RESPONSE:

18           Plaintiff incorporates each of its General Objections and Objections to Definitions and

19   Instructions as if fully set forth herein.

20           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

21   which are subject to more than one reasonable interpretation: “all Documents

22   Concerning”. Plaintiff will undertake to interpret these terms as they would in ordinary usage given

23   the context.

24   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it purports to

25   request the production of “all” or “each and every” document in the requested category of

26   documents. Such a request for all documents is unduly burdensome in particular given the

27   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

28   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
                                                         58                                             APP119
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 1   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

 2   reasonable list of custodians whose job responsibilities would indicate that they were in possession

 3   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

 4   request the production of information subject to the attorney-client privilege, the work product

 5   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the

 6   extent that it purports to request information that is outside of the possession, custody or control of

 7   Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports to request

 8   documents that are, or should be, within the possession custody and control of one or more of the
 9   Defendants.
10           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
11   search, Plaintiff will produce responsive, non-privileged information within its custody and control
12   to the extent that such information exists.
13

14   REQUEST NO. 61:
15   Please produce all Documents Concerning all steps or efforts taken by UEC or others (including

16   UEC-acquired entities) to enforce any of the Asserted Patents against any person, including, but not

17   limited to, charges of infringement of any of the Asserted Patents.

18   OBJECTIONS AND RESPONSE:

19           Plaintiff incorporates each of its General Objections and Objections to Definitions and

20   Instructions as if fully set forth herein.

21           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

22   purports to request the production of “all” or “each and every” document in the requested category

23   of documents. Such a request for all documents is unduly burdensome in particular given the

24   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

25   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

26   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

27   reasonable list of custodians whose job responsibilities would indicate that they were in possession

28   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
                                                        59                                           APP120
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 1   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

 2   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the

 3   extent it purports to request the production of information subject to the attorney-client privilege,

 4   the work product doctrine or any other recognized privilege or immunity. Plaintiff objects to this

 5   request to the extent it purports to request information that is within the public domain and

 6   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request as

 7   overly burdensome to the extent it purports to request documents that are, or should be, within the

 8   possession custody and control of one or more of the Defendants.      Plaintiff objects to this request
 9   as overly burdensome to the extent it purports to duplicate or overlap in subject matter with other
10   requests propounded by the Defendants.
11           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
12   search, Plaintiff will produce responsive, non-privileged information within its custody and control
13   to the extent that such information exists.
14

15   REQUEST NO. 62:
16   Please produce all Documents Concerning the basis for UEC’s claim of injunctive relief.

17   OBJECTIONS AND RESPONSE:

18           Plaintiff incorporates each of its General Objections and Objections to Definitions and

19   Instructions as if fully set forth herein.

20           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

21   which are subject to more than one reasonable interpretation: “all Documents

22   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

23   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

24   purports to request the production of “all” or “each and every” document in the requested category

25   of documents. Such a request for all documents is unduly burdensome in particular given the

26   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

27   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

28   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
                                                        60                                           APP121
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 1   reasonable list of custodians whose job responsibilities would indicate that they were in possession

 2   of potentially responsive information. Plaintiff objects to this request to the extent that it purports to

 3   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff

 4   objects to this request as overly burdensome to the extent it purports to request documents that are,

 5   or should be, within the possession custody and control of one or more of the Defendants.

 6           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 7   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 8   to the extent that such information exists.
 9

10   REQUEST NO. 63:
11   Please produce all Documents Concerning any other litigation, prospective litigation, re-

12   examination, reissue, inter parties review, or dispute involving any of the Asserted Patents or any

13   Related Patents.

14   OBJECTIONS AND RESPONSE:

15           Plaintiff incorporates each of its General Objections and Objections to Definitions and

16   Instructions as if fully set forth herein.

17           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

18   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

19   “dispute.” Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

20   purports to request the production of “all” or “each and every” document in the requested category

21   of documents. Such a request for all documents is unduly burdensome in particular given the

22   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

23   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

24   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

25   reasonable list of custodians whose job responsibilities would indicate that they were in possession

26   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

27   request the production of information subject to the attorney-client privilege, the work product

28   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the
                                                        61                                           APP122
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 1   extent it purports to request information that is neither relevant to the subject matter of this lawsuit

 2   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

 3   request to the extent it purports to request information that is in the possession, custody or control of

 4   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff

 5   objects to this request to the extent it purports to request information that is within the public

 6   domain and accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this

 7   request to the extent that it purports to request information that is outside of the possession, custody

 8   or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports
 9   to request documents that are, or should be, within the possession custody and control of one or
10   more of the Defendants.
11           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
12   search, Plaintiff will produce responsive, non-privileged information within its custody and control
13   to the extent that such information exists.
14

15   REQUEST NO. 64:
16   Please produce all Documents Concerning any patent marking in connection with any of the

17   Asserted Patents, or any other alleged compliance by UEC with 35 U.S.C. Section 287(a).

18   OBJECTIONS AND RESPONSE:

19           Plaintiff incorporates each of its General Objections and Objections to Definitions and

20   Instructions as if fully set forth herein.

21           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

22   purports to request the production of “all” or “each and every” document in the requested category

23   of documents. Such a request for all documents is unduly burdensome in particular given the

24   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

25   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

26   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

27   reasonable list of custodians whose job responsibilities would indicate that they were in possession

28   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
                                                        62                                           APP123
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 1   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

 2   calculated to lead to the discovery of admissible evidence.

 3           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 4   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 5   to the extent that such information exists.

 6

 7   REQUEST NO. 65:

 8   Please produce all license, assignment, or settlement agreements Concerning the alleged inventions
 9   claimed in any of the Asserted Patents and any Documents evidencing, recording, or related to
10   payments made under such agreements.
11   OBJECTIONS AND RESPONSE:
12           Plaintiff incorporates each of its General Objections and Objections to Definitions and
13   Instructions as if fully set forth herein.
14           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
15   purports to request the production of “all” or “each and every” document in the requested category
16   of documents. Such a request for all documents is unduly burdensome in particular given the
17   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
18   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

19   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

20   reasonable list of custodians whose job responsibilities would indicate that they were in possession

21   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

22   request information that is in the possession, custody or control of third parties to this lawsuit and

23   not within the possession, custody and control of Plaintiff. Plaintiff objects to this request as overly

24   burdensome to the extent it purports to duplicate or overlap in subject matter with other requests

25   propounded by the Defendants.

26           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

27   search, Plaintiff will produce responsive, non-privileged information within its custody and control

28   to the extent that such information exists.
                                                        63                                           APP124
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 1   REQUEST NO. 66:

 2   Please produce all Documents Concerning any communications, agreements, discussions,

 3   negotiations, inquiries, or proposals relating to the licensing or assignment of the inventions claimed

 4   in any of the Asserted Patents (including cease and desist letters and any communications relating

 5   thereto).

 6   OBJECTIONS AND RESPONSE:

 7           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 8   Instructions as if fully set forth herein.
 9           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
10   purports to request the production of “all” or “each and every” document in the requested category
11   of documents. Such a request for all documents is unduly burdensome in particular given the
12   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
13   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
14   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
15   reasonable list of custodians whose job responsibilities would indicate that they were in possession
16   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
17   request the production of information subject to the attorney-client privilege, the work product
18   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the

19   extent it purports to request information that is in the possession, custody or control of third parties

20   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to

21   this request to the extent that it purports to request information that is outside of the possession,

22   custody or control of Plaintiff.

23           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

24   search, Plaintiff will produce responsive, non-privileged information within its custody and control

25   to the extent that such information exists.

26

27   REQUEST NO. 67:

28   Please produce all Documents Concerning any license, offer to license, or attempt to license any of
                                                        64                                           APP125
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 1   the Asserted Patents or any Related Patents, or any Patents owned by UEC or UEC-Acquired Entities

 2   to any person-whether or not the offer or attempt has resulted in a license-including, without

 3   limitation, Documents regarding the rights being offered, the consideration paid or to be paid, any

 4   proposed or actual royalty rate or payment, any actual or projected revenues or profits, and those

 5   persons involved in the negotiation regarding such license or attempt to license.

 6   OBJECTIONS AND RESPONSE:

 7           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 8   Instructions as if fully set forth herein.
 9           Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
10   purports to request the production of “all” or “each and every” document in the requested category
11   of documents. Such a request for all documents is unduly burdensome in particular given the
12   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
13   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
14   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
15   reasonable list of custodians whose job responsibilities would indicate that they were in possession
16   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
17   request the production of information subject to the attorney-client privilege, the work product
18   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the

19   extent it purports to request information that is in the possession, custody or control of third parties

20   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to

21   this request to the extent that it purports to request information that is outside of the possession,

22   custody or control of Plaintiff.

23           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

24   search, Plaintiff will produce responsive, non-privileged information within its custody and control

25   to the extent that such information exists.

26

27   REQUEST NO. 68:

28   Please produce all Documents Concerning any assessment, analysis, study, forecast, plan, reports,
                                                        65                                            APP126
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 1   valuation, projection, evaluation, expectation, presentation, proposal, or discussion of the actual or

 2   projected monetary value to UEC or other indicia of value to any person of the alleged inventions

 3   claimed in any of the Asserted Patents including, without limitation, Documents regarding UEC’s

 4   actual, planned, forecast, or expected revenues or profits from licensing any of the Asserted Patents.

 5   OBJECTIONS AND RESPONSE:

 6           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 7   Instructions as if fully set forth herein.

 8           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
 9   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
10   “discussion”. Plaintiff will undertake to interpret these terms as they would in ordinary usage given
11   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
12   purports to request the production of “all” or “each and every” document in the requested category
13   of documents. Such a request for all documents is unduly burdensome in particular given the
14   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
15   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
16   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
17   reasonable list of custodians whose job responsibilities would indicate that they were in possession
18   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

19   request the production of information subject to the attorney-client privilege, the work product

20   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the

21   extent that it is not reasonably limited to a time period relevant to the causes of action and claims at

22   issue in this lawsuit.

23   Plaintiff objects to this request as overly burdensome to the extent it purports to request documents

24   that are, or should be, within the possession custody and control of one or more of the Defendants.

25           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

26   search, Plaintiff will produce responsive, non-privileged information within its custody and control

27   to the extent that such information exists.

28
                                                        66                                           APP127
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 1   REQUEST NO. 69:

 2   Please produce all Documents Concerning patent procurement policies, patent enforcement policies,

 3   competitor product review policies, or patent licensing policies of UEC since January 1, 2007.

 4   OBJECTIONS AND RESPONSE:

 5           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 6   Instructions as if fully set forth herein.

 7           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 8   which are subject to more than one reasonable interpretation: “all Documents Concerning,” “patent
 9   procurement policies,” “competitor product review policies” and “patent licensing
10   policies.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given the
11   context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
12   purports to request the production of “all” or “each and every” document in the requested category
13   of documents. Such a request for all documents is unduly burdensome in particular given the
14   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
15   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
16   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
17   reasonable list of custodians whose job responsibilities would indicate that they were in possession
18   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

19   request the production of information subject to the attorney-client privilege, the work product

20   doctrine or any other recognized privilege or immunity.      Plaintiff objects to this request to the

21   extent it purports to request information that is neither relevant to the subject matter of this lawsuit

22   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

23   request to the extent that it is not reasonably limited to a time period relevant to the causes of action

24   and claims at issue in this lawsuit.

25           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

26   search, Plaintiff will produce responsive, non-privileged information within its custody and control

27   to the extent that such information exists.

28
                                                        67                                            APP128
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 1   REQUEST NO. 70:

 2   Please produce all Documents Concerning any alleged nexus, or lack thereof, between any alleged

 3   commercial success of the subject matter of any claim of any of the Asserted Patents and the alleged

 4   advantages of that subject matter.

 5   OBJECTIONS AND RESPONSE:

 6           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 7   Instructions as if fully set forth herein.

 8           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
 9   which are subject to more than one reasonable interpretation: “all Documents Concerning,”
10   “alleged nexus, or lack thereof” and “alleged advantages of that subject matter.” Plaintiff will
11   undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff
12   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the
13   production of “all” or “each and every” document in the requested category of documents. Such a
14   request for all documents is unduly burdensome in particular given the extremely broad definitions
15   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff
16   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than
17   conduct a reasonable investigation that collects responsive documents from a reasonable list of
18   custodians whose job responsibilities would indicate that they were in possession of potentially

19   responsive information. Plaintiff objects to this request to the extent it purports to request the

20   production of information subject to the attorney-client privilege, the work product doctrine or any

21   other recognized privilege or immunity.      Plaintiff objects to this request to the extent it purports to

22   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

23   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the

24   extent it purports to request information that is in the possession, custody or control of third parties

25   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to

26   this request to the extent it purports to request information that is within the public domain and

27   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the

28   extent that it purports to request information that is outside of the possession, custody or control of
                                                         68                                            APP129
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 1   Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports to request

 2   documents that are, or should be, within the possession custody and control of one or more of the

 3   Defendants.     Plaintiff objects to this request as overly burdensome to the extent it purports to

 4   duplicate or overlap in subject matter with other requests propounded by the Defendants. Plaintiff

 5   objects to this request to the extent it requires a legal conclusion in order to interpret the request.

 6           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 7   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 8   to the extent that such information exists.
 9

10   REQUEST NO. 71:
11   Please produce all Documents Concerning the nature and scope of any alleged irreparable injury

12   suffered by UEC as a result of the alleged infringement of any of the Asserted Patents absent an

13   injunction against AGA in this matter.

14   OBJECTIONS AND RESPONSE:

15           Plaintiff incorporates each of its General Objections and Objections to Definitions and

16   Instructions as if fully set forth herein.

17           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

18   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

19   “nature and scope.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

20   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

21   inasmuch as it purports to request the production of “all” or “each and every” document in the

22   requested category of documents. Such a request for all documents is unduly burdensome in

23   particular given the extremely broad definitions of “Document” supplied by Defendants and,

24   consequently, the request purports to require Plaintiff to collect documents from potentially every

25   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

26   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

27   that they were in possession of potentially responsive information. Plaintiff objects to this request

28   to the extent it purports to request the production of information subject to the attorney-client
                                                         69                                           APP130
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 1   privilege, the work product doctrine or any other recognized privilege or immunity.

 2           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 3   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 4   to the extent that such information exists.

 5

 6   REQUEST NO. 72:

 7   Please produce all Documents Concerning remedies available at law are adequate to compensate

 8   UEC for the alleged infringement of any Asserted Patent by AGA.
 9   OBJECTIONS AND RESPONSE:
10           Plaintiff incorporates each of its General Objections and Objections to Definitions and
11   Instructions as if fully set forth herein.
12           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
13   which are subject to more than one reasonable interpretation: “all Documents
14   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given
15   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
16   purports to request the production of “all” or “each and every” document in the requested category
17   of documents. Such a request for all documents is unduly burdensome in particular given the
18   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

19   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

20   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

21   reasonable list of custodians whose job responsibilities would indicate that they were in possession

22   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

23   request the production of information subject to the attorney-client privilege, the work product

24   doctrine or any other recognized privilege or immunity.      Plaintiff objects to this request to the

25   extent it purports to request information that is in the possession, custody or control of third parties

26   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to

27   this request to the extent that it purports to request information that is outside of the possession,

28   custody or control of Plaintiff.
                                                        70                                            APP131
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 1   Plaintiff objects to this request as overly burdensome to the extent it purports to request documents

 2   that are, or should be, within the possession custody and control of one or more of the Defendants.

 3           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 4   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 5   to the extent that such information exists.

 6

 7   REQUEST NO. 73:

 8   Please produce all Documents Concerning whether the balance of hardships weighs in favor of or
 9   against AGA for the alleged infringement of any of the Asserted Patents.
10   OBJECTIONS AND RESPONSE:
11           Plaintiff incorporates each of its General Objections and Objections to Definitions and
12   Instructions as if fully set forth herein.
13           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
14   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
15   “balance of hardships.” Plaintiff will undertake to interpret these terms as they would in ordinary
16   usage given the context. Plaintiff objects to this request as overly broad and unduly burdensome
17   inasmuch as it purports to request the production of “all” or “each and every” document in the
18   requested category of documents. Such a request for all documents is unduly burdensome in

19   particular given the extremely broad definitions of “Document” supplied by Defendants and,

20   consequently, the request purports to require Plaintiff to collect documents from potentially every

21   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

22   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

23   that they were in possession of potentially responsive information. Plaintiff objects to this request

24   to the extent it purports to request the production of information subject to the attorney-client

25   privilege, the work product doctrine or any other recognized privilege or immunity.        Plaintiff

26   objects to this request to the extent it purports to request information that is neither relevant to the

27   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

28   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
                                                         71                                           APP132
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 1   the possession, custody or control of third parties to this lawsuit and not within the possession,

 2   custody and control of Plaintiff. Plaintiff objects to this request to the extent that it purports to

 3   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff

 4   objects to this request as overly burdensome to the extent it purports to request documents that are,

 5   or should be, within the possession custody and control of one or more of the Defendants.

 6           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 7   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 8   to the extent that such information exists.
 9

10   REQUEST NO. 74:
11   Please produce all Documents Concerning UEC’s contention that UEC is entitled to an injunction

12   against AGA related to the Asserted Patents.

13   OBJECTIONS AND RESPONSE:

14           Plaintiff incorporates each of its General Objections and Objections to Definitions and

15   Instructions as if fully set forth herein.

16           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

17   which are subject to more than one reasonable interpretation: “all Documents

18   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

19   the context.   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

20   purports to request the production of “all” or “each and every” document in the requested category

21   of documents. Such a request for all documents is unduly burdensome in particular given the

22   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

23   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

24   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

25   reasonable list of custodians whose job responsibilities would indicate that they were in possession

26   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

27   request the production of information subject to the attorney-client privilege, the work product

28   doctrine or any other recognized privilege or immunity.      Plaintiff objects to this request to the
                                                        72                                            APP133
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 1   extent it purports to request information that is in the possession, custody or control of third parties

 2   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to

 3   this request to the extent that it purports to request information that is outside of the possession,

 4   custody or control of Plaintiff.

 5   Plaintiff objects to this request as overly burdensome to the extent it purports to duplicate or

 6   overlap in subject matter with other requests propounded by the Defendants. Plaintiff further

 7   objects to this request as premature inasmuch as discovery in this case has just begun and the

 8   Plaintiff has not yet completed its investigation of the relevant facts, the Court has not rendered any
 9   rulings or claim constructions and the parties have not completed expert discovery.
10           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
11   search, Plaintiff will produce responsive, non-privileged information within its custody and control
12   to the extent that such information exists.
13

14   REQUEST NO. 75:
15   Please produce Documents sufficient to describe each lost sale of UEC that UEC contends is the result

16   of any alleged infringement by AGA as it relates to the Asserted Patents.

17   OBJECTIONS AND RESPONSE:

18           Plaintiff incorporates each of its General Objections and Objections to Definitions and

19   Instructions as if fully set forth herein.

20           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

21   which are subject to more than one reasonable interpretation: “Documents sufficient to

22   describe.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given the

23   context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

24   purports to request the production of “all” or “each and every” document in the requested category

25   of documents. Such a request for all documents is unduly burdensome in particular given the

26   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

27   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

28   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
                                                        73                                           APP134
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 1   reasonable list of custodians whose job responsibilities would indicate that they were in possession

 2   of potentially responsive information.       Plaintiff objects to this request to the extent it purports to

 3   request information that is in the possession, custody or control of third parties to this lawsuit and

 4   not within the possession, custody and control of Plaintiff.       Plaintiff objects to this request to the

 5   extent that it purports to request information that is outside of the possession, custody or control of

 6   Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports to request

 7   documents that are, or should be, within the possession custody and control of one or more of the

 8   Defendants.     Plaintiff objects to this request as overly burdensome to the extent it purports to
 9   duplicate or overlap in subject matter with other requests propounded by the Defendants.
10           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
11   search, Plaintiff will produce responsive, non-privileged information within its custody and control
12   to the extent that such information exists.
13

14   REQUEST NO. 76:
15   Please produce Documents sufficient to describe the harm to UEC that UEC contends is the result

16   of any alleged infringement by AGA as it relates to the Asserted Patents.

17   OBJECTIONS AND RESPONSE:

18           Plaintiff incorporates each of its General Objections and Objections to Definitions and

19   Instructions as if fully set forth herein.

20           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

21   which are subject to more than one reasonable interpretation: “Documents sufficient to

22   describe.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given the

23   context.   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

24   purports to request the production of “all” or “each and every” document in the requested category

25   of documents. Such a request for all documents is unduly burdensome in particular given the

26   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

27   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

28   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
                                                           74                                            APP135
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 1   reasonable list of custodians whose job responsibilities would indicate that they were in possession

 2   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

 3   request information that is in the possession, custody or control of third parties to this lawsuit and

 4   not within the possession, custody and control of Plaintiff. Plaintiff objects to this request to the

 5   extent that it purports to request information that is outside of the possession, custody or control of

 6   Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it purports to request

 7   documents that are, or should be, within the possession custody and control of one or more of the

 8   Defendants.     Plaintiff objects to this request as overly burdensome to the extent it purports to
 9   duplicate or overlap in subject matter with other requests propounded by the Defendants.
10           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
11   search, Plaintiff will produce responsive, non-privileged information within its custody and control
12   to the extent that such information exists.
13

14   REQUEST NO. 77:
15   Please produce all Documents Concerning agreements entered between UEC and AGA Concerning

16   the Asserted Patents.

17   OBJECTIONS AND RESPONSE:

18           Plaintiff incorporates each of its General Objections and Objections to Definitions and

19   Instructions as if fully set forth herein.

20           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

21   which are subject to more than one reasonable interpretation: “all Documents

22   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

23   the context.   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

24   purports to request the production of “all” or “each and every” document in the requested category

25   of documents. Such a request for all documents is unduly burdensome in particular given the

26   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

27   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

28   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
                                                        75                                          APP136
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 1   reasonable list of custodians whose job responsibilities would indicate that they were in possession

 2   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

 3   request the production of information subject to the attorney-client privilege, the work product

 4   doctrine or any other recognized privilege or immunity.       Plaintiff objects to this request to the

 5   extent it purports to request information that is neither relevant to the subject matter of this lawsuit

 6   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

 7   request to the extent it purports to request information that is within the public domain and

 8   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the
 9   extent that it is not reasonably limited to a time period relevant to the causes of action and claims at
10   issue in this lawsuit.
11   Plaintiff objects to this request to the extent that it purports to request information that is outside of
12   the possession, custody or control of Plaintiff. Plaintiff objects to this request as overly
13   burdensome to the extent it purports to request documents that are, or should be, within the
14   possession custody and control of one or more of the Defendants. Plaintiff objects to this request
15   as overly burdensome to the extent it purports to duplicate or overlap in subject matter with other
16   requests propounded by the Defendants.
17           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
18   search, Plaintiff will produce responsive, non-privileged information within its custody and control

19   to the extent that such information exists.

20

21   REQUEST NO. 78:

22   Please produce all Documents Concerning communications between UEC and AGA Concerning

23   the Asserted Patents.

24   OBJECTIONS AND RESPONSE:

25           Plaintiff incorporates each of its General Objections and Objections to Definitions and

26   Instructions as if fully set forth herein.

27           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

28   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
                                                         76                                            APP137
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 1   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

 2   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

 3   inasmuch as it purports to request the production of “all” or “each and every” document in the

 4   requested category of documents. Such a request for all documents is unduly burdensome in

 5   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 6   consequently, the request purports to require Plaintiff to collect documents from potentially every

 7   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 8   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
 9   that they were in possession of potentially responsive information. Plaintiff objects to this request
10   to the extent it purports to request the production of information subject to the attorney-client
11   privilege, the work product doctrine or any other recognized privilege or immunity.         Plaintiff
12   objects to this request to the extent that it purports to request information that is outside of the
13   possession, custody or control of Plaintiff. Plaintiff objects to this request as overly burdensome to
14   the extent it purports to request documents that are, or should be, within the possession custody and
15   control of one or more of the Defendants. Plaintiff objects to this request as overly burdensome to
16   the extent it purports to duplicate or overlap in subject matter with other requests propounded by the
17   Defendants.
18          Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

19   search, Plaintiff will produce responsive, non-privileged information within its custody and control

20   to the extent that such information exists.

21

22                                          SIC Investigation/Report

23   REQUEST NO. 79:

24   Please produce all Documents in support of paragraph 67 of the Second Amended Complaint

25   which states “In June 2017, UEC became aware of a possibility that Okada engaged in misconduct

26   in relation to foreign business. In response to this misconduct, UEC established a Special

27   Investigation Committee formed by outside experts to investigate Okada.”

28   OBJECTIONS AND RESPONSE:
                                                         77                                           APP138
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 1           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 2   Instructions as if fully set forth herein.

 3           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 4   which are subject to more than one reasonable interpretation: “all Documents in support.” Plaintiff

 5   will undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff

 6   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the

 7   production of “all” or “each and every” document in the requested category of documents. Such a

 8   request for all documents is unduly burdensome in particular given the extremely broad definitions
 9   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff
10   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than
11   conduct a reasonable investigation that collects responsive documents from a reasonable list of
12   custodians whose job responsibilities would indicate that they were in possession of potentially
13   responsive information. Plaintiff objects to this request to the extent it purports to request the
14   production of information subject to the attorney-client privilege, the work product doctrine or any
15   other recognized privilege or immunity.       Plaintiff objects to this request to the extent it purports to
16   request information that is in the possession, custody or control of third parties to this lawsuit and
17   not within the possession, custody and control of Plaintiff. Plaintiff objects to this request to the
18   extent that it purports to request information that is outside of the possession, custody or control of

19   Plaintiff.

20   Plaintiff objects to this request as overly burdensome to the extent it purports to request documents

21   that are, or should be, within the possession custody and control of one or more of the Defendants.

22           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

23   search, Plaintiff will produce responsive, non-privileged information within its custody and control

24   to the extent that such information exists.

25

26   REQUEST NO. 80:

27   Please produce all Documents in support of paragraph 68 of the Second Amended Complaint

28   which states “On August 29, 2017, the Special Investigation Committee reported the result of the
                                                          78                                            APP139
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 1   investigation to UEC. This identified the fact that Okada had caused UEC damages worth at least

 2   JPY 2.2 billion due to his misconduct through the foreign business done for his personal gain during

 3   2013 – 2015. In response to the work of the Special Investigation Committee, UEC personnel

 4   further reviewed Okada’s activities and they discovered the fact that AGA was making

 5   unauthorized use of UEC patent rights, including the Asserted Patents, and that Okada had

 6   concealed these facts.”

 7   OBJECTIONS AND RESPONSE:

 8           Plaintiff incorporates each of its General Objections and Objections to Definitions and
 9   Instructions as if fully set forth herein.
10           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
11   which are subject to more than one reasonable interpretation: “all Documents in support.” Plaintiff
12   will undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff
13   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the
14   production of “all” or “each and every” document in the requested category of documents. Such a
15   request for all documents is unduly burdensome in particular given the extremely broad definitions
16   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff
17   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than
18   conduct a reasonable investigation that collects responsive documents from a reasonable list of

19   custodians whose job responsibilities would indicate that they were in possession of potentially

20   responsive information. Plaintiff objects to this request to the extent it purports to request the

21   production of information subject to the attorney-client privilege, the work product doctrine or any

22   other recognized privilege or immunity.      Plaintiff objects to this request to the extent it purports to

23   request information that is in the possession, custody or control of third parties to this lawsuit and

24   not within the possession, custody and control of Plaintiff. Plaintiff objects to this request to the

25   extent that it purports to request information that is outside of the possession, custody or control of

26   Plaintiff.

27   Plaintiff objects to this request as overly burdensome to the extent it purports to request documents

28   that are, or should be, within the possession custody and control of one or more of the Defendants.
                                                         79                                            APP140
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 1           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 2   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 3   to the extent that such information exists.

 4

 5   REQUEST NO. 81:

 6   Please product all Documents Concerning the formation of the Special Investigation Committee,

 7   including but not limited to the members who were selected to serve on the Special Investigation

 8   Committee.
 9   OBJECTIONS AND RESPONSE:
10           Plaintiff incorporates each of its General Objections and Objections to Definitions and
11   Instructions as if fully set forth herein.
12           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
13   which are subject to more than one reasonable interpretation: “all Documents Concerning” and “the
14   formation.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given
15   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
16   purports to request the production of “all” or “each and every” document in the requested category
17   of documents. Such a request for all documents is unduly burdensome in particular given the
18   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

19   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

20   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

21   reasonable list of custodians whose job responsibilities would indicate that they were in possession

22   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

23   request the production of information subject to the attorney-client privilege, the work product

24   doctrine or any other recognized privilege or immunity.      Plaintiff objects to this request to the

25   extent it purports to request information that is neither relevant to the subject matter of this lawsuit

26   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

27   request to the extent that it purports to request information that is outside of the possession, custody

28   or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it
                                                        80                                            APP141
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 1   purports to request documents that are, or should be, within the possession custody and control of

 2   one or more of the Defendants.       Plaintiff objects to this request as overly burdensome to the extent

 3   it purports to duplicate or overlap in subject matter with other requests propounded by the

 4   Defendants.

 5           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 6   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 7   to the extent that such information exists.

 8
 9   REQUEST NO. 82:
10   Please produce all Documents Concerning any reports, including any drafts of the Special

11   Investigation Committee report, from May 23, 2017 to the present, which is referenced in paragraph

12   68 of the Second Amended Complaint.

13   OBJECTIONS AND RESPONSE:

14           Plaintiff incorporates each of its General Objections and Objections to Definitions and

15   Instructions as if fully set forth herein.

16           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

17   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

18   “report, including any drafts of the Special Investigation Committee report.” Plaintiff will

19   undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff

20   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the

21   production of “all” or “each and every” document in the requested category of documents. Such a

22   request for all documents is unduly burdensome in particular given the extremely broad definitions

23   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

24   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

25   conduct a reasonable investigation that collects responsive documents from a reasonable list of

26   custodians whose job responsibilities would indicate that they were in possession of potentially

27   responsive information. Plaintiff objects to this request to the extent it purports to request the

28   production of information subject to the attorney-client privilege, the work product doctrine or any
                                                         81                                         APP142
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 1   other recognized privilege or immunity.       Plaintiff objects to this request to the extent it purports to

 2   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

 3   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the

 4   extent it purports to request information that is in the possession, custody or control of third parties

 5   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to

 6   this request to the extent it purports to request information that is within the public domain and

 7   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the

 8   extent that it purports to request information that is outside of the possession, custody or control of
 9   Plaintiff.
10   Plaintiff objects to this request as overly burdensome to the extent it purports to request documents
11   that are, or should be, within the possession custody and control of one or more of the Defendants.
12   Plaintiff objects to this request as overly burdensome to the extent it purports to duplicate or overlap
13   in subject matter with other requests propounded by the Defendants.
14           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
15   search, Plaintiff will produce responsive, non-privileged information within its custody and control
16   to the extent that such information exists.
17

18   REQUEST NO. 83:

19   Please produce all Documents provided to the Special Investigation Committee as referenced in

20   paragraphs 67 – 68 of the Second Amended Complaint.

21   OBJECTIONS AND RESPONSE:

22           Plaintiff incorporates each of its General Objections and Objections to Definitions and

23   Instructions as if fully set forth herein.

24           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

25   which are subject to more than one reasonable interpretation: “all Documents provided.” Plaintiff

26   will undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff

27   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the

28   production of “all” or “each and every” document in the requested category of documents. Such a
                                                          82                                            APP143
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 1   request for all documents is unduly burdensome in particular given the extremely broad definitions

 2   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

 3   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

 4   conduct a reasonable investigation that collects responsive documents from a reasonable list of

 5   custodians whose job responsibilities would indicate that they were in possession of potentially

 6   responsive information.         Plaintiff objects to this request to the extent it purports to request the

 7   production of information subject to the attorney-client privilege, the work product doctrine or any

 8   other recognized privilege or immunity.       Plaintiff objects to this request to the extent it purports to
 9   request information that is neither relevant to the subject matter of this lawsuit nor reasonably
10   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the
11   extent it purports to request information that is within the public domain and accordingly is at least
12   as easily obtained by the Defendants. Plaintiff objects to this request to the extent that it purports to
13   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff
14   objects to this request as overly burdensome to the extent it purports to request documents that are,
15   or should be, within the possession custody and control of one or more of the Defendants. Plaintiff
16   objects to this request as overly burdensome to the extent it purports to duplicate or overlap in
17   subject matter with other requests propounded by the Defendants.
18           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

19   search, Plaintiff will produce responsive, non-privileged information within its custody and control

20   to the extent that such information exists.

21

22   REQUEST NO. 84:

23   Please produce all Documents Concerning the Special Investigation Committee investigation and

24   report as referenced in paragraphs 67 – 68 of the Second Amended Complaint.

25   OBJECTIONS AND RESPONSE:

26           Plaintiff incorporates each of its General Objections and Objections to Definitions and

27   Instructions as if fully set forth herein.

28           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
                                                          83                                            APP144
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 1   which are subject to more than one reasonable interpretation: “all Documents

 2   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

 3   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

 4   purports to request the production of “all” or “each and every” document in the requested category

 5   of documents. Such a request for all documents is unduly burdensome in particular given the

 6   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

 7   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

 8   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
 9   reasonable list of custodians whose job responsibilities would indicate that they were in possession
10   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
11   request the production of information subject to the attorney-client privilege, the work product
12   doctrine or any other recognized privilege or immunity.       Plaintiff objects to this request to the
13   extent it purports to request information that is neither relevant to the subject matter of this lawsuit
14   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this
15   request to the extent it purports to request information that is in the possession, custody or control of
16   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff
17   objects to this request to the extent it purports to request information that is within the public
18   domain and accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this

19   request to the extent that it is not reasonably limited to a time period relevant to the causes of action

20   and claims at issue in this lawsuit.

21   Plaintiff objects to this request to the extent that it purports to request information that is outside of

22   the possession, custody or control of Plaintiff. Plaintiff objects to this request as overly

23   burdensome to the extent it purports to request documents that are, or should be, within the

24   possession custody and control of one or more of the Defendants. Plaintiff objects to this request

25   as overly burdensome to the extent it purports to duplicate or overlap in subject matter with other

26   requests propounded by the Defendants.

27           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

28   search, Plaintiff will produce responsive, non-privileged information within its custody and control
                                                         84                                            APP145
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 1   to the extent that such information exists.

 2

 3   REQUEST NO. 85:

 4   Please produce all Documents Concerning any written communications, text messages or emails

 5   referenced in any draft or final report by the Special Investigation Committee as referenced in

 6   paragraphs 67 – 68 of the Second Amended Complaint.

 7   OBJECTIONS AND RESPONSE:

 8           Plaintiff incorporates each of its General Objections and Objections to Definitions and
 9   Instructions as if fully set forth herein.
10           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
11   which are subject to more than one reasonable interpretation: “all Documents
12   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given
13   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
14   purports to request the production of “all” or “each and every” document in the requested category
15   of documents. Such a request for all documents is unduly burdensome in particular given the
16   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
17   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
18   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

19   reasonable list of custodians whose job responsibilities would indicate that they were in possession

20   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

21   request the production of information subject to the attorney-client privilege, the work product

22   doctrine or any other recognized privilege or immunity.       Plaintiff objects to this request to the

23   extent it purports to request information that is neither relevant to the subject matter of this lawsuit

24   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

25   request to the extent that it purports to request information that is outside of the possession, custody

26   or control of Plaintiff.

27   Plaintiff objects to this request to the extent it purports to request information that is in the

28   possession, custody or control of third parties to this lawsuit and not within the possession, custody
                                                         85                                              APP146
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 1   and control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it

 2   purports to request documents that are, or should be, within the possession custody and control of

 3   one or more of the Defendants.       Plaintiff objects to this request as overly burdensome to the extent

 4   it purports to duplicate or overlap in subject matter with other requests propounded by the

 5   Defendants.

 6           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 7   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 8   to the extent that such information exists.
 9

10   REQUEST NO. 86:
11   Please produce each and every written or recorded statement, deposition transcript, affidavit,

12   affirmation or declaration, or UEC Board Meeting Minutes Concerning the Special Investigation

13   Committee that UEC, or anyone on its behalf has obtained.

14   OBJECTIONS AND RESPONSE:

15           Plaintiff incorporates each of its General Objections and Objections to Definitions and

16   Instructions as if fully set forth herein.

17           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

18   which are subject to more than one reasonable interpretation: “recorded statement.” Plaintiff will

19   undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff

20   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the

21   production of “all” or “each and every” document in the requested category of documents. Such a

22   request for all documents is unduly burdensome in particular given the extremely broad definitions

23   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

24   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

25   conduct a reasonable investigation that collects responsive documents from a reasonable list of

26   custodians whose job responsibilities would indicate that they were in possession of potentially

27   responsive information. Plaintiff objects to this request to the extent it purports to request

28   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to
                                                         86                                           APP147
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 1   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it

 2   purports to request information that is in the possession, custody or control of third parties to this

 3   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this

 4   request to the extent that it is not reasonably limited to a time period relevant to the causes of action

 5   and claims at issue in this lawsuit. Plaintiff objects to this request to the extent that it purports to

 6   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff

 7   objects to this request as overly burdensome to the extent it purports to request documents that are,

 8   or should be, within the possession custody and control of one or more of the Defendants.
 9           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
10   search, Plaintiff will produce responsive, non-privileged information within its custody and control
11   to the extent that such information exists.
12

13   REQUEST NO. 87:
14   Please produce all Documents Concerning communications between UEC and Mr. Yoshinao

15   Negishi from January 1, 2017 to the present.

16   OBJECTIONS AND RESPONSE:

17           Plaintiff incorporates each of its General Objections and Objections to Definitions and

18   Instructions as if fully set forth herein.

19           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

20   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

21   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

22   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

23   inasmuch as it purports to request the production of “all” or “each and every” document in the

24   requested category of documents. Such a request for all documents is unduly burdensome in

25   particular given the extremely broad definitions of “Document” supplied by Defendants and,

26   consequently, the request purports to require Plaintiff to collect documents from potentially every

27   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

28   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
                                                         87                                            APP148
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 1   that they were in possession of potentially responsive information. Plaintiff objects to this request

 2   to the extent it purports to request the production of information subject to the attorney-client

 3   privilege, the work product doctrine or any other recognized privilege or immunity.         Plaintiff

 4   objects to this request to the extent it purports to request information that is neither relevant to the

 5   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

 6   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

 7   the possession, custody or control of third parties to this lawsuit and not within the possession,

 8   custody and control of Plaintiff.
 9   Plaintiff objects to this request to the extent that it purports to request information that is outside of
10   the possession, custody or control of Plaintiff. Plaintiff objects to this request as overly
11   burdensome to the extent it purports to request documents that are, or should be, within the
12   possession custody and control of one or more of the Defendants.
13           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
14   search, Plaintiff will produce responsive, non-privileged information within its custody and control
15   to the extent that such information exists.
16

17   REQUEST NO. 88:
18   Please produce all Documents Concerning communications between Mr. Fujimoto and Mr.

19   Yoshinao Negishi from January 1, 2017 to the present.

20   OBJECTIONS AND RESPONSE:

21           Plaintiff incorporates each of its General Objections and Objections to Definitions and

22   Instructions as if fully set forth herein.

23           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

24   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

25   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

26   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

27   inasmuch as it purports to request the production of “all” or “each and every” document in the

28   requested category of documents. Such a request for all documents is unduly burdensome in
                                                         88                                           APP149
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 1   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 2   consequently, the request purports to require Plaintiff to collect documents from potentially every

 3   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 4   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

 5   that they were in possession of potentially responsive information. Plaintiff objects to this request

 6   to the extent it purports to request the production of information subject to the attorney-client

 7   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

 8   objects to this request to the extent it purports to request information that is neither relevant to the
 9   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
10   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
11   the possession, custody or control of third parties to this lawsuit and not within the possession,
12   custody and control of Plaintiff.
13   Plaintiff objects to this request to the extent that it purports to request information that is outside of
14   the possession, custody or control of Plaintiff.
15           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
16   search, Plaintiff will produce responsive, non-privileged information within its custody and control
17   to the extent that such information exists.
18

19   REQUEST NO. 89:

20   Please produce all Documents Concerning communications between UEC and Ms. Joanna Ip

21   from January 1, 2017 to the present.

22   OBJECTIONS AND RESPONSE:

23           Plaintiff incorporates each of its General Objections and Objections to Definitions and

24   Instructions as if fully set forth herein.

25           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

26   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

27   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

28   given the context. Plaintiff objects to this request as overly broad and unduly burdensome
                                                         89                                           APP150
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 1   inasmuch as it purports to request the production of “all” or “each and every” document in the

 2   requested category of documents. Such a request for all documents is unduly burdensome in

 3   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 4   consequently, the request purports to require Plaintiff to collect documents from potentially every

 5   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 6   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

 7   that they were in possession of potentially responsive information. Plaintiff objects to this request

 8   to the extent it purports to request the production of information subject to the attorney-client
 9   privilege, the work product doctrine or any other recognized privilege or immunity.         Plaintiff
10   objects to this request to the extent it purports to request information that is neither relevant to the
11   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
12   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
13   the possession, custody or control of third parties to this lawsuit and not within the possession,
14   custody and control of Plaintiff.
15   Plaintiff objects to this request to the extent that it purports to request information that is outside of
16   the possession, custody or control of Plaintiff.
17           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
18   search, Plaintiff will produce responsive, non-privileged information within its custody and control

19   to the extent that such information exists.

20

21   REQUEST NO. 90:

22   Please produce all Documents Concerning communications between UEC and Tiger Resorts Asia

23   Limited from January 1, 2017 to the present Concerning the Special Investigation Committee report

24   which is referenced in paragraph 68 of the Second Amended Complaint.

25   OBJECTIONS AND RESPONSE:

26           Plaintiff incorporates each of its General Objections and Objections to Definitions and

27   Instructions as if fully set forth herein.

28           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
                                                         90                                           APP151
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 1   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

 2   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

 3   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

 4   inasmuch as it purports to request the production of “all” or “each and every” document in the

 5   requested category of documents. Such a request for all documents is unduly burdensome in

 6   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 7   consequently, the request purports to require Plaintiff to collect documents from potentially every

 8   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
 9   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
10   that they were in possession of potentially responsive information. Plaintiff objects to this request
11   to the extent it purports to request the production of information subject to the attorney-client
12   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff
13   objects to this request to the extent it purports to request information that is neither relevant to the
14   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
15   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
16   the possession, custody or control of third parties to this lawsuit and not within the possession,
17   custody and control of Plaintiff.
18   Plaintiff objects to this request to the extent that it purports to request information that is outside of

19   the possession, custody or control of Plaintiff.

20           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

21   search, Plaintiff will produce responsive, non-privileged information within its custody and control

22   to the extent that such information exists.

23

24   REQUEST NO. 91:

25   Please produce all Documents from UEC’s Internal Audit Office from January 1, 2015 to present

26   Concerning any subject matters that are contained in the Special Investigation Committee report

27   which is referenced in paragraph 68 of the Second Amended Complaint.

28   OBJECTIONS AND RESPONSE:
                                                         91                                           APP152
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 1           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 2   Instructions as if fully set forth herein.

 3           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 4   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

 5   “any subject matters.” Plaintiff will undertake to interpret these terms as they would in ordinary

 6   usage given the context.     Plaintiff objects to this request as overly broad and unduly burdensome

 7   inasmuch as it purports to request the production of “all” or “each and every” document in the

 8   requested category of documents. Such a request for all documents is unduly burdensome in
 9   particular given the extremely broad definitions of “Document” supplied by Defendants and,
10   consequently, the request purports to require Plaintiff to collect documents from potentially every
11   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
12   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
13   that they were in possession of potentially responsive information. Plaintiff objects to this request
14   to the extent it purports to request the production of information subject to the attorney-client
15   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff
16   objects to this request to the extent it purports to request information that is neither relevant to the
17   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
18   evidence. Plaintiff objects to this request as overly burdensome to the extent it purports to request

19   documents that are, or should be, within the possession custody and control of one or more of the

20   Defendants.     Plaintiff objects to this request as overly burdensome to the extent it purports to

21   duplicate or overlap in subject matter with other requests propounded by the Defendants.

22           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

23   search, Plaintiff will produce responsive, non-privileged information within its custody and control

24   to the extent that such information exists.

25

26   REQUEST NO. 92:

27   Please produce all Documents Concerning the selection of those persons who worked in UEC’s

28   Internal Audit Office as of May 23, 2017.
                                                         92                                           APP153
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 1   OBJECTIONS AND RESPONSE:

 2           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 3   Instructions as if fully set forth herein.

 4           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 5   which are subject to more than one reasonable interpretation: “all Documents

 6   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

 7   the context.   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

 8   purports to request the production of “all” or “each and every” document in the requested category
 9   of documents. Such a request for all documents is unduly burdensome in particular given the
10   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
11   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
12   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
13   reasonable list of custodians whose job responsibilities would indicate that they were in possession
14   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
15   request the production of information subject to the attorney-client privilege, the work product
16   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the
17   extent it purports to request information that is neither relevant to the subject matter of this lawsuit
18   nor reasonably calculated to lead to the discovery of admissible evidence.

19           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

20   search, Plaintiff will produce responsive, non-privileged information within its custody and control

21   to the extent that such information exists.

22

23   REQUEST NO. 93:

24   Please produce all Documents from UEC’s Board of Corporate Auditors which approved the report

25   made by Mr. Nobuyoshi Ichikura at UEC’s Extraordinary Board Meeting held on May 23, 2017.

26   OBJECTIONS AND RESPONSE:

27           Plaintiff incorporates each of its General Objections and Objections to Definitions and

28   Instructions as if fully set forth herein.
                                                        93                                           APP154
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 1          Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 2   which are subject to more than one reasonable interpretation: “all Documents.” Plaintiff will

 3   undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff

 4   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the

 5   production of “all” or “each and every” document in the requested category of documents. Such a

 6   request for all documents is unduly burdensome in particular given the extremely broad definitions

 7   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

 8   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than
 9   conduct a reasonable investigation that collects responsive documents from a reasonable list of
10   custodians whose job responsibilities would indicate that they were in possession of potentially
11   responsive information. Plaintiff objects to this request to the extent it purports to request the
12   production of information subject to the attorney-client privilege, the work product doctrine or any
13   other recognized privilege or immunity.       Plaintiff objects to this request to the extent it purports to
14   request information that is neither relevant to the subject matter of this lawsuit nor reasonably
15   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request as overly
16   burdensome to the extent it purports to request documents that are, or should be, within the
17   possession custody and control of one or more of the Defendants. Plaintiff objects to this request as
18   overly burdensome to the extent it purports to duplicate or overlap in subject matter with other

19   requests propounded by the Defendants.

20          Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

21   search, Plaintiff will produce responsive, non-privileged information within its custody and control

22   to the extent that such information exists.

23

24   REQUEST NO. 94:

25   Please produce all Documents Concerning the selection of those persons who served on UEC’s

26   Board of Corporate Auditors on May 23, 2017.

27   OBJECTIONS AND RESPONSE:

28          Plaintiff incorporates each of its General Objections and Objections to Definitions and
                                                          94                                            APP155
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 1   Instructions as if fully set forth herein.

 2           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 3   which are subject to more than one reasonable interpretation: “all Documents

 4   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

 5   the context.   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

 6   purports to request the production of “all” or “each and every” document in the requested category

 7   of documents. Such a request for all documents is unduly burdensome in particular given the

 8   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
 9   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
10   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
11   reasonable list of custodians whose job responsibilities would indicate that they were in possession
12   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
13   request the production of information subject to the attorney-client privilege, the work product
14   doctrine or any other recognized privilege or immunity.      Plaintiff objects to this request to the
15   extent it purports to request information that is neither relevant to the subject matter of this lawsuit
16   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this
17   request as overly burdensome to the extent it purports to request documents that are, or should be,
18   within the possession custody and control of one or more of the Defendants. Plaintiff objects to this

19   request as overly burdensome to the extent it purports to duplicate or overlap in subject matter with

20   other requests propounded by the Defendants.

21           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

22   search, Plaintiff will produce responsive, non-privileged information within its custody and control

23   to the extent that such information exists.

24

25   REQUEST NO. 95:

26   Please produce all Documents Concerning communications between Mr. Fujimoto and Auditor

27   Nobuyoshi Ichikura (or Nobuyoshi Ichigura) from January 1, 2017 to the present Concerning

28   any subject matters that are contained in the Special Investigation Committee report
                                                        95                                            APP156
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 1   which is referenced in paragraph 68 of the Second Amended Complaint.

 2   OBJECTIONS AND RESPONSE:

 3           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 4   Instructions as if fully set forth herein.

 5           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 6   which are subject to more than one reasonable interpretation: “all Documents Concerning,”

 7   “communications” and “Concerning any subject matter.” Plaintiff will undertake to interpret these

 8   terms as they would in ordinary usage given the context. Plaintiff objects to this request as overly
 9   broad and unduly burdensome inasmuch as it purports to request the production of “all” or “each
10   and every” document in the requested category of documents. Such a request for all documents is
11   unduly burdensome in particular given the extremely broad definitions of “Document” supplied by
12   Defendants and, consequently, the request purports to require Plaintiff to collect documents from
13   potentially every employee, agent or attorney of Plaintiff rather than conduct a reasonable
14   investigation that collects responsive documents from a reasonable list of custodians whose job
15   responsibilities would indicate that they were in possession of potentially responsive
16   information. Plaintiff objects to this request to the extent it purports to request the production of
17   information subject to the attorney-client privilege, the work product doctrine or any other
18   recognized privilege or immunity.       Plaintiff objects to this request to the extent it purports to

19   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

20   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the

21   extent it purports to request information that is in the possession, custody or control of third parties

22   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to

23   this request to the extent that it purports to request information that is outside of the possession,

24   custody or control of Plaintiff. Plaintiff objects to this request as overly burdensome to the extent it

25   purports to duplicate or overlap in subject matter with other requests propounded by the Defendants.

26           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

27   search, Plaintiff will produce responsive, non-privileged information within its custody and control

28   to the extent that such information exists.
                                                          96                                            APP157
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 1   REQUEST NO. 96:

 2   Please produce all Documents Concerning communications between UEC and the City-Yuwa

 3   Partners law firm from January 1, 2015 to the present.

 4   OBJECTIONS AND RESPONSE:

 5           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 6   Instructions as if fully set forth herein.

 7           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 8   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
 9   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
10   given the context. Plaintiff objects to this request as overly broad and unduly burdensome
11   inasmuch as it purports to request the production of “all” or “each and every” document in the
12   requested category of documents. Such a request for all documents is unduly burdensome in
13   particular given the extremely broad definitions of “Document” supplied by Defendants and,
14   consequently, the request purports to require Plaintiff to collect documents from potentially every
15   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
16   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
17   that they were in possession of potentially responsive information. Plaintiff objects to this request
18   to the extent it purports to request the production of information subject to the attorney-client

19   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

20   objects to this request to the extent it purports to request information that is neither relevant to the

21   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

22   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

23   the possession, custody or control of third parties to this lawsuit and not within the possession,

24   custody and control of Plaintiff.

25   Plaintiff objects to this request to the extent that it purports to request information that is outside of

26   the possession, custody or control of Plaintiff.

27           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

28   search, Plaintiff will produce responsive, non-privileged information within its custody and control
                                                         97                                           APP158
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 1   to the extent that such information exists.

 2

 3   REQUEST NO. 97:

 4   Please produce all Documents Concerning communications between Mr. Fujimoto and the Special

 5   Investigation Committee from January 1, 2017 to the present.

 6   OBJECTIONS AND RESPONSE:

 7           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 8   Instructions as if fully set forth herein.
 9           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
10   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
11   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
12   given the context. Plaintiff objects to this request as overly broad and unduly burdensome
13   inasmuch as it purports to request the production of “all” or “each and every” document in the
14   requested category of documents. Such a request for all documents is unduly burdensome in
15   particular given the extremely broad definitions of “Document” supplied by Defendants and,
16   consequently, the request purports to require Plaintiff to collect documents from potentially every
17   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
18   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

19   that they were in possession of potentially responsive information. Plaintiff objects to this request

20   to the extent it purports to request the production of information subject to the attorney-client

21   privilege, the work product doctrine or any other recognized privilege or immunity.        Plaintiff

22   objects to this request to the extent it purports to request information that is neither relevant to the

23   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

24   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

25   the possession, custody or control of third parties to this lawsuit and not within the possession,

26   custody and control of Plaintiff.

27   Plaintiff objects to this request as overly burdensome to the extent it purports to duplicate or overlap

28   in subject matter with other requests propounded by the Defendants.
                                                         98                                           APP159
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 1           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 2   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 3   to the extent that such information exists.

 4

 5   REQUEST NO. 98:

 6   Please produce all Documents Concerning communications between UEC and Mr. Michio

 7   Masaki from January 1, 2017 to the present.

 8   OBJECTIONS AND RESPONSE:
 9           Plaintiff incorporates each of its General Objections and Objections to Definitions and
10   Instructions as if fully set forth herein.
11           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
12   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
13   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
14   given the context. Plaintiff objects to this request as overly broad and unduly burdensome
15   inasmuch as it purports to request the production of “all” or “each and every” document in the
16   requested category of documents. Such a request for all documents is unduly burdensome in
17   particular given the extremely broad definitions of “Document” supplied by Defendants and,
18   consequently, the request purports to require Plaintiff to collect documents from potentially every

19   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

20   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

21   that they were in possession of potentially responsive information. Plaintiff objects to this request

22   to the extent it purports to request the production of information subject to the attorney-client

23   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

24   objects to this request to the extent it purports to request information that is neither relevant to the

25   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

26   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

27   the possession, custody or control of third parties to this lawsuit and not within the possession,

28   custody and control of Plaintiff.
                                                         99                                           APP160
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 1   Plaintiff objects to this request to the extent that it purports to request information that is outside of

 2   the possession, custody or control of Plaintiff.

 3           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 4   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 5   to the extent that such information exists.

 6

 7   REQUEST NO. 99:

 8   Please produce all Documents Concerning communications between UEC and Mr. Sotaro
 9   Matsuo from January 1, 2017 to the present.
10   OBJECTIONS AND RESPONSE:
11           Plaintiff incorporates each of its General Objections and Objections to Definitions and
12   Instructions as if fully set forth herein.
13           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
14   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
15   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
16   given the context. Plaintiff objects to this request as overly broad and unduly burdensome
17   inasmuch as it purports to request the production of “all” or “each and every” document in the
18   requested category of documents. Such a request for all documents is unduly burdensome in

19   particular given the extremely broad definitions of “Document” supplied by Defendants and,

20   consequently, the request purports to require Plaintiff to collect documents from potentially every

21   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

22   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

23   that they were in possession of potentially responsive information. Plaintiff objects to this request

24   to the extent it purports to request the production of information subject to the attorney-client

25   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

26   objects to this request to the extent it purports to request information that is neither relevant to the

27   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

28   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
                                                        100                                           APP161
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 1   the possession, custody or control of third parties to this lawsuit and not within the possession,

 2   custody and control of Plaintiff.

 3   Plaintiff objects to this request to the extent that it purports to request information that is outside of

 4   the possession, custody or control of Plaintiff.

 5           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 6   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 7   to the extent that such information exists.

 8
 9   REQUEST NO. 100:
10   Please produce all Documents Concerning communications between UEC and Mr. Miya Fukayama

11   from January 1, 2017 to the present.

12   OBJECTIONS AND RESPONSE:

13           Plaintiff incorporates each of its General Objections and Objections to Definitions and

14   Instructions as if fully set forth herein.

15           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

16   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

17   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

18   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

19   inasmuch as it purports to request the production of “all” or “each and every” document in the

20   requested category of documents. Such a request for all documents is unduly burdensome in

21   particular given the extremely broad definitions of “Document” supplied by Defendants and,

22   consequently, the request purports to require Plaintiff to collect documents from potentially every

23   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

24   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

25   that they were in possession of potentially responsive information. Plaintiff objects to this request

26   to the extent it purports to request the production of information subject to the attorney-client

27   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

28   objects to this request to the extent it purports to request information that is neither relevant to the
                                                        101                                           APP162
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 1   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

 2   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

 3   the possession, custody or control of third parties to this lawsuit and not within the possession,

 4   custody and control of Plaintiff.

 5   Plaintiff objects to this request to the extent that it purports to request information that is outside of

 6   the possession, custody or control of Plaintiff.

 7           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 8   search, Plaintiff will produce responsive, non-privileged information within its custody and control
 9   to the extent that such information exists.
10

11   REQUEST NO. 101:
12   Please produce all Documents Concerning communications between UEC and Mr. Takahiro

13   Usui from January 1, 2017 to the present.

14   OBJECTIONS AND RESPONSE:

15           Plaintiff incorporates each of its General Objections and Objections to Definitions and

16   Instructions as if fully set forth herein.

17           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

18   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

19   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

20   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

21   inasmuch as it purports to request the production of “all” or “each and every” document in the

22   requested category of documents. Such a request for all documents is unduly burdensome in

23   particular given the extremely broad definitions of “Document” supplied by Defendants and,

24   consequently, the request purports to require Plaintiff to collect documents from potentially every

25   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

26   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

27   that they were in possession of potentially responsive information. Plaintiff objects to this request

28   to the extent it purports to request the production of information subject to the attorney-client
                                                        102                                           APP163
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 1   privilege, the work product doctrine or any other recognized privilege or immunity.         Plaintiff

 2   objects to this request to the extent it purports to request information that is neither relevant to the

 3   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

 4   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

 5   the possession, custody or control of third parties to this lawsuit and not within the possession,

 6   custody and control of Plaintiff.

 7   Plaintiff objects to this request to the extent that it purports to request information that is outside of

 8   the possession, custody or control of Plaintiff.
 9           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
10   search, Plaintiff will produce responsive, non-privileged information within its custody and control
11   to the extent that such information exists.
12

13   REQUEST NO. 102:
14   Please produce all Documents Concerning communications between Mr. Fujimoto and Ms. Takako

15   Okada from January 1, 2017 to the present.

16   OBJECTIONS AND RESPONSE:

17           Plaintiff incorporates each of its General Objections and Objections to Definitions and

18   Instructions as if fully set forth herein.

19           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

20   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

21   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

22   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome

23   inasmuch as it purports to request the production of “all” or “each and every” document in the

24   requested category of documents. Such a request for all documents is unduly burdensome in

25   particular given the extremely broad definitions of “Document” supplied by Defendants and,

26   consequently, the request purports to require Plaintiff to collect documents from potentially every

27   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

28   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
                                                        103                                           APP164
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 1   that they were in possession of potentially responsive information. Plaintiff objects to this request

 2   to the extent it purports to request the production of information subject to the attorney-client

 3   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

 4   objects to this request to the extent it purports to request information that is neither relevant to the

 5   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

 6   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

 7   the possession, custody or control of third parties to this lawsuit and not within the possession,

 8   custody and control of Plaintiff.
 9   Plaintiff objects to this request to the extent that it purports to request information that is outside of
10   the possession, custody or control of Plaintiff.
11           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
12   search, Plaintiff will produce responsive, non-privileged information within its custody and control
13   to the extent that such information exists.
14

15   REQUEST NO. 103:
16   Please produce all Documents Concerning communications between Mr. Fujimoto and Mr. Kenshi

17   Asano from January 1, 2017 to the present Concerning the Special Investigation Committee, Okada

18   Holdings or Mr. Kazuo Okada.

19   OBJECTIONS AND RESPONSE:

20           Plaintiff incorporates each of its General Objections and Objections to Definitions and

21   Instructions as if fully set forth herein.

22           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

23   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

24   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

25   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

26   inasmuch as it purports to request the production of “all” or “each and every” document in the

27   requested category of documents. Such a request for all documents is unduly burdensome in

28   particular given the extremely broad definitions of “Document” supplied by Defendants and,
                                                        104                                           APP165
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 1   consequently, the request purports to require Plaintiff to collect documents from potentially every

 2   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 3   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

 4   that they were in possession of potentially responsive information. Plaintiff objects to this request

 5   to the extent it purports to request the production of information subject to the attorney-client

 6   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

 7   objects to this request to the extent it purports to request information that is neither relevant to the

 8   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
 9   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
10   the possession, custody or control of third parties to this lawsuit and not within the possession,
11   custody and control of Plaintiff.
12   Plaintiff objects to this request to the extent that it purports to request information that is outside of
13   the possession, custody or control of Plaintiff.
14           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
15   search, Plaintiff will produce responsive, non-privileged information within its custody and control
16   to the extent that such information exists.
17

18   REQUEST NO. 104:

19   Please produce all Documents Concerning communications between Mr. Fujimoto and Ms. Takako

20   Okada (and/or Ms. Sachiko Okada) from January 1, 2017 to the present Concerning the Special

21   Investigation Committee, Okada Holdings or Mr. Okada.

22   OBJECTIONS AND RESPONSE:

23           Plaintiff incorporates each of its General Objections and Objections to Definitions and

24   Instructions as if fully set forth herein.

25           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

26   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

27   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

28   given the context. Plaintiff objects to this request as overly broad and unduly burdensome
                                                        105                                           APP166
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 1   inasmuch as it purports to request the production of “all” or “each and every” document in the

 2   requested category of documents. Such a request for all documents is unduly burdensome in

 3   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 4   consequently, the request purports to require Plaintiff to collect documents from potentially every

 5   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 6   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

 7   that they were in possession of potentially responsive information. Plaintiff objects to this request

 8   to the extent it purports to request the production of information subject to the attorney-client
 9   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff
10   objects to this request to the extent it purports to request information that is neither relevant to the
11   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
12   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
13   the possession, custody or control of third parties to this lawsuit and not within the possession,
14   custody and control of Plaintiff.
15   Plaintiff objects to this request to the extent that it purports to request information that is outside of
16   the possession, custody or control of Plaintiff.
17           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
18   search, Plaintiff will produce responsive, non-privileged information within its custody and control

19   to the extent that such information exists.

20

21   REQUEST NO. 105:

22   Please produce all Documents Concerning communications between Mr. Fujimoto and Mr. Hajime

23   Tokuda from January 1, 2017 to the present Concerning the Special Investigation Committee,

24   Okada Holdings or Mr. Okada.

25   OBJECTIONS AND RESPONSE:

26           Plaintiff incorporates each of its General Objections and Objections to Definitions and

27   Instructions as if fully set forth herein.

28           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
                                                        106                                           APP167
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 1   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

 2   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

 3   given the context.   Plaintiff objects to this request as overly broad and unduly burdensome

 4   inasmuch as it purports to request the production of “all” or “each and every” document in the

 5   requested category of documents. Such a request for all documents is unduly burdensome in

 6   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 7   consequently, the request purports to require Plaintiff to collect documents from potentially every

 8   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
 9   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
10   that they were in possession of potentially responsive information. Plaintiff objects to this request
11   to the extent it purports to request the production of information subject to the attorney-client
12   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff
13   objects to this request to the extent it purports to request information that is neither relevant to the
14   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
15   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
16   the possession, custody or control of third parties to this lawsuit and not within the possession,
17   custody and control of Plaintiff.
18   Plaintiff objects to this request to the extent that it purports to request information that is outside of

19   the possession, custody or control of Plaintiff.

20           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

21   search, Plaintiff will produce responsive, non-privileged information within its custody and control

22   to the extent that such information exists.

23

24   REQUEST NO. 106:

25   Please produce all Documents Concerning communications between Mr. Fujimoto and Mr.

26   Masayoshi Miyanaga from January 1, 2017 to the present Concerning the Special Investigation

27   Committee, Okada Holdings or Mr. Okada.

28   //
                                                        107                                           APP168
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 1   OBJECTIONS AND RESPONSE:

 2           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 3   Instructions as if fully set forth herein.

 4           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 5   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

 6   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

 7   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome

 8   inasmuch as it purports to request the production of “all” or “each and every” document in the
 9   requested category of documents. Such a request for all documents is unduly burdensome in
10   particular given the extremely broad definitions of “Document” supplied by Defendants and,
11   consequently, the request purports to require Plaintiff to collect documents from potentially every
12   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
13   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
14   that they were in possession of potentially responsive information. Plaintiff objects to this request
15   to the extent it purports to request the production of information subject to the attorney-client
16   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff
17   objects to this request to the extent it purports to request information that is neither relevant to the
18   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

19   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

20   the possession, custody or control of third parties to this lawsuit and not within the possession,

21   custody and control of Plaintiff.

22   Plaintiff objects to this request to the extent that it purports to request information that is outside of

23   the possession, custody or control of Plaintiff.

24           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

25   search, Plaintiff will produce responsive, non-privileged information within its custody and control

26   to the extent that such information exists.

27   //

28   //
                                                        108                                           APP169
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 1   REQUEST NO. 107:

 2   Please produce all Documents Concerning communications between Mr. Fujimoto and Mr. Seisui

 3   Kamigaki from January 1, 2017 to the present Concerning the Special Investigation Committee,

 4   Okada Holdings or Mr. Okada.

 5   OBJECTIONS AND RESPONSE:

 6           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 7   Instructions as if fully set forth herein.

 8           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
 9   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
10   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary
11   usage given the context.     Plaintiff objects to this request as overly broad and unduly burdensome
12   inasmuch as it purports to request the production of “all” or “each and every” document in the
13   requested category of documents. Such a request for all documents is unduly burdensome in
14   particular given the extremely broad definitions of “Document” supplied by Defendants and,
15   consequently, the request purports to require Plaintiff to collect documents from potentially every
16   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
17   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
18   that they were in possession of potentially responsive information. Plaintiff objects to this request

19   to the extent it purports to request the production of information subject to the attorney-client

20   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

21   objects to this request to the extent it purports to request information that is neither relevant to the

22   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

23   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

24   the possession, custody or control of third parties to this lawsuit and not within the possession,

25   custody and control of Plaintiff.

26   Plaintiff objects to this request to the extent that it purports to request information that is outside of

27   the possession, custody or control of Plaintiff.

28           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
                                                        109                                           APP170
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 1   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 2   to the extent that such information exists.

 3

 4   REQUEST NO. 108:

 5   Please produce all Documents Concerning communications between Mr. Fujimoto and Mr. Yoshio

 6   Otani from January 1, 2017 to the present Concerning the Special Investigation Committee, Okada

 7   Holdings or Mr. Okada.

 8   OBJECTIONS AND RESPONSE:
 9           Plaintiff incorporates each of its General Objections and Objections to Definitions and
10   Instructions as if fully set forth herein.
11           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
12   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
13   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
14   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome
15   inasmuch as it purports to request the production of “all” or “each and every” document in the
16   requested category of documents. Such a request for all documents is unduly burdensome in
17   particular given the extremely broad definitions of “Document” supplied by Defendants and,
18   consequently, the request purports to require Plaintiff to collect documents from potentially every

19   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

20   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

21   that they were in possession of potentially responsive information. Plaintiff objects to this request

22   to the extent it purports to request the production of information subject to the attorney-client

23   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

24   objects to this request to the extent it purports to request information that is neither relevant to the

25   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

26   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

27   the possession, custody or control of third parties to this lawsuit and not within the possession,

28   custody and control of Plaintiff.
                                                        110                                           APP171
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 1   Plaintiff objects to this request to the extent that it purports to request information that is outside of

 2   the possession, custody or control of Plaintiff.

 3           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 4   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 5   to the extent that such information exists.

 6

 7   REQUEST NO. 109:

 8   Please produce all Documents Concerning communications between UEC and Deutsche Bank from
 9   January 1, 2017 to the present Concerning the Special Investigation Committee, Okada Holdings or
10   Mr. Okada.
11   OBJECTIONS AND RESPONSE:
12           Plaintiff incorporates each of its General Objections and Objections to Definitions and
13   Instructions as if fully set forth herein.
14           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
15   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
16   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
17   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome
18   inasmuch as it purports to request the production of “all” or “each and every” document in the

19   requested category of documents. Such a request for all documents is unduly burdensome in

20   particular given the extremely broad definitions of “Document” supplied by Defendants and,

21   consequently, the request purports to require Plaintiff to collect documents from potentially every

22   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

23   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

24   that they were in possession of potentially responsive information. Plaintiff objects to this request

25   to the extent it purports to request the production of information subject to the attorney-client

26   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

27   objects to this request to the extent it purports to request information that is neither relevant to the

28   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
                                                        111                                           APP172
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 1   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

 2   the possession, custody or control of third parties to this lawsuit and not within the possession,

 3   custody and control of Plaintiff.

 4   Plaintiff objects to this request to the extent that it purports to request information that is outside of

 5   the possession, custody or control of Plaintiff.

 6           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 7   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 8   to the extent that such information exists.
 9

10   REQUEST NO. 110:
11   Please produce all cellular telephone records for Mr. Fujimoto from January 1, 2017 to the present.

12   OBJECTIONS AND RESPONSE:

13           Plaintiff incorporates each of its General Objections and Objections to Definitions and

14   Instructions as if fully set forth herein.

15           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

16   which are subject to more than one reasonable interpretation: “all cellular telephone

17   records.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given the

18   context.   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

19   purports to request the production of “all” or “each and every” document in the requested category

20   of documents. Such a request for all documents is unduly burdensome in particular given the

21   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

22   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

23   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

24   reasonable list of custodians whose job responsibilities would indicate that they were in possession

25   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

26   request the production of information subject to the attorney-client privilege, the work product

27   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the

28   extent it purports to request information that is neither relevant to the subject matter of this lawsuit
                                                        112                                           APP173
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 1   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

 2   request to the extent it purports to request information that is in the possession, custody or control of

 3   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff

 4   objects to this request to the extent that it purports to request information that is outside of the

 5   possession, custody or control of Plaintiff.

 6           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 7   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 8   to the extent that such information exists.
 9

10   REQUEST NO. 111:
11   Please produce all Documents Concerning plans by UEC to pursue an Initial Public Offering of

12   its casino resort business in the Philippines.

13   OBJECTIONS AND RESPONSE:

14           Plaintiff incorporates each of its General Objections and Objections to Definitions and

15   Instructions as if fully set forth herein.

16           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

17   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

18   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

19   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome

20   inasmuch as it purports to request the production of “all” or “each and every” document in the

21   requested category of documents. Such a request for all documents is unduly burdensome in

22   particular given the extremely broad definitions of “Document” supplied by Defendants and,

23   consequently, the request purports to require Plaintiff to collect documents from potentially every

24   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

25   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

26   that they were in possession of potentially responsive information. Plaintiff objects to this request

27   to the extent it purports to request the production of information subject to the attorney-client

28   privilege, the work product doctrine or any other recognized privilege or immunity.        Plaintiff
                                                        113                                           APP174
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 1   objects to this request to the extent it purports to request information that is neither relevant to the

 2   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

 3   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

 4   the possession, custody or control of third parties to this lawsuit and not within the possession,

 5   custody and control of Plaintiff.

 6   Plaintiff objects to this request to the extent that it purports to request information that is outside of

 7   the possession, custody or control of Plaintiff. Plaintiff objects to this request to the extent that it is

 8   not reasonably limited to a time period relevant to the causes of action and claims at issue in this
 9   lawsuit.
10           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
11   search, Plaintiff will produce responsive, non-privileged information within its custody and control
12   to the extent that such information exists.
13

14                                           Okada Holdings Takeover
15   REQUEST NO. 112:
16   Please produce each and every written or recorded statement, deposition transcript, affidavit,

17   affirmation or declaration Concerning Okada Holdings, from the period of January 1, 2015 to

18   present, that UEC, or anyone on its behalf, has obtained.

19   OBJECTIONS AND RESPONSE:

20           Plaintiff incorporates each of its General Objections and Objections to Definitions and

21   Instructions as if fully set forth herein.

22           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

23   which are subject to more than one reasonable interpretation: “recorded statement.” Plaintiff will

24   undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff

25   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the

26   production of “all” or “each and every” document in the requested category of documents. Such a

27   request for all documents is unduly burdensome in particular given the extremely broad definitions

28   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff
                                                        114                                           APP175
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 1   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

 2   conduct a reasonable investigation that collects responsive documents from a reasonable list of

 3   custodians whose job responsibilities would indicate that they were in possession of potentially

 4   responsive information. Plaintiff objects to this request to the extent it purports to request the

 5   production of information subject to the attorney-client privilege, the work product doctrine or any

 6   other recognized privilege or immunity.       Plaintiff objects to this request to the extent it purports to

 7   request information that is neither relevant to the subject matter of this lawsuit nor reasonably

 8   calculated to lead to the discovery of admissible evidence. Plaintiff objects to this request to the
 9   extent it purports to request information that is in the possession, custody or control of third parties
10   to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to
11   this request to the extent that it purports to request information that is outside of the possession,
12   custody or control of Plaintiff.
13           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
14   search, Plaintiff will produce responsive, non-privileged information within its custody and control
15   to the extent that such information exists.
16

17   REQUEST NO. 113:
18   Please produce all Documents Concerning communications between UEC and Mr. Tomohiro

19   Okada including, but not limited to those Documents, Concerning the Okada Holdings

20   Takeover or any activities of Mr. Okada.

21   OBJECTIONS AND RESPONSE:

22           Plaintiff incorporates each of its General Objections and Objections to Definitions and

23   Instructions as if fully set forth herein.

24           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

25   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

26   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

27   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome

28   inasmuch as it purports to request the production of “all” or “each and every” document in the
                                                         115                                            APP176
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 1   requested category of documents. Such a request for all documents is unduly burdensome in

 2   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 3   consequently, the request purports to require Plaintiff to collect documents from potentially every

 4   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 5   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

 6   that they were in possession of potentially responsive information. Plaintiff objects to this request

 7   to the extent it purports to request the production of information subject to the attorney-client

 8   privilege, the work product doctrine or any other recognized privilege or immunity.         Plaintiff
 9   objects to this request to the extent it purports to request information that is neither relevant to the
10   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
11   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
12   the possession, custody or control of third parties to this lawsuit and not within the possession,
13   custody and control of Plaintiff.
14   Plaintiff objects to this request to the extent that it purports to request information that is outside of
15   the possession, custody or control of Plaintiff.
16           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
17   search, Plaintiff will produce responsive, non-privileged information within its custody and control
18   to the extent that such information exists.

19

20   REQUEST NO. 114:

21   Please produce all Documents Concerning communications between Mr. Fujimoto and Mr.

22   Tomohiro Okada including, but not limited to those Documents, Concerning the Okada

23   Holdings Takeover or any activities of Mr. Okada.

24   OBJECTIONS AND RESPONSE:

25           Plaintiff incorporates each of its General Objections and Objections to Definitions and

26   Instructions as if fully set forth herein.

27           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

28   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
                                                        116                                           APP177
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 1   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

 2   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome

 3   inasmuch as it purports to request the production of “all” or “each and every” document in the

 4   requested category of documents. Such a request for all documents is unduly burdensome in

 5   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 6   consequently, the request purports to require Plaintiff to collect documents from potentially every

 7   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 8   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
 9   that they were in possession of potentially responsive information. Plaintiff objects to this request
10   to the extent it purports to request the production of information subject to the attorney-client
11   privilege, the work product doctrine or any other recognized privilege or immunity.         Plaintiff
12   objects to this request to the extent it purports to request information that is neither relevant to the
13   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
14   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
15   the possession, custody or control of third parties to this lawsuit and not within the possession,
16   custody and control of Plaintiff.
17   Plaintiff objects to this request to the extent that it purports to request information that is outside of
18   the possession, custody or control of Plaintiff.

19           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

20   search, Plaintiff will produce responsive, non-privileged information within its custody and control

21   to the extent that such information exists.

22

23   REQUEST NO. 115:

24   Please produce all Documents Concerning communications between UEC and Mr. Makoto

25   Takada including, but not limited to, those Documents Concerning the Okada Holdings Takeover.

26   OBJECTIONS AND RESPONSE:

27           Plaintiff incorporates each of its General Objections and Objections to Definitions and

28   Instructions as if fully set forth herein.
                                                        117                                           APP178
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 1           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 2   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

 3   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary

 4   usage given the context.    Plaintiff objects to this request as overly broad and unduly burdensome

 5   inasmuch as it purports to request the production of “all” or “each and every” document in the

 6   requested category of documents. Such a request for all documents is unduly burdensome in

 7   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 8   consequently, the request purports to require Plaintiff to collect documents from potentially every
 9   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
10   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
11   that they were in possession of potentially responsive information. Plaintiff objects to this request
12   to the extent it purports to request the production of information subject to the attorney-client
13   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff
14   objects to this request to the extent it purports to request information that is neither relevant to the
15   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
16   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
17   the possession, custody or control of third parties to this lawsuit and not within the possession,
18   custody and control of Plaintiff.

19   Plaintiff objects to this request to the extent that it purports to request information that is outside of

20   the possession, custody or control of Plaintiff.

21           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

22   search, Plaintiff will produce responsive, non-privileged information within its custody and control

23   to the extent that such information exists.

24

25   REQUEST NO. 116:

26   Please produce all Documents Concerning communications between Mr. Fujimoto and Mr. Makoto

27   Takada from January 1, 2017 to the present including, but not limited to, those Documents

28   Concerning the Okada Holdings Takeover.
                                                        118                                           APP179
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 1   OBJECTIONS AND RESPONSE:

 2           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 3   Instructions as if fully set forth herein.

 4           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 5   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

 6   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary

 7   usage given the context.     Plaintiff objects to this request as overly broad and unduly burdensome

 8   inasmuch as it purports to request the production of “all” or “each and every” document in the
 9   requested category of documents. Such a request for all documents is unduly burdensome in
10   particular given the extremely broad definitions of “Document” supplied by Defendants and,
11   consequently, the request purports to require Plaintiff to collect documents from potentially every
12   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
13   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
14   that they were in possession of potentially responsive information. Plaintiff objects to this request
15   to the extent it purports to request the production of information subject to the attorney-client
16   privilege, the work product doctrine or any other recognized privilege or immunity.         Plaintiff
17   objects to this request to the extent it purports to request information that is neither relevant to the
18   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

19   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

20   the possession, custody or control of third parties to this lawsuit and not within the possession,

21   custody and control of Plaintiff.

22   Plaintiff objects to this request to the extent that it purports to request information that is outside of

23   the possession, custody or control of Plaintiff.

24           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

25   search, Plaintiff will produce responsive, non-privileged information within its custody and control

26   to the extent that such information exists.

27   //

28   //
                                                        119                                           APP180
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 1   REQUEST NO. 117:

 2   Please produce all Documents Concerning communications between UEC and Mr. Atsunobu Ishida,

 3   including, but not limited to, those Documents Concerning the Okada Holdings Takeover.

 4   OBJECTIONS AND RESPONSE:

 5           Plaintiff incorporates each of its General Objections and Objections to Definitions and

 6   Instructions as if fully set forth herein.

 7           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 8   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
 9   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
10   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome
11   inasmuch as it purports to request the production of “all” or “each and every” document in the
12   requested category of documents. Such a request for all documents is unduly burdensome in
13   particular given the extremely broad definitions of “Document” supplied by Defendants and,
14   consequently, the request purports to require Plaintiff to collect documents from potentially every
15   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
16   responsive documents from a reasonable list of custodians whose job responsibilities would indicate
17   that they were in possession of potentially responsive information. Plaintiff objects to this request
18   to the extent it purports to request the production of information subject to the attorney-client

19   privilege, the work product doctrine or any other recognized privilege or immunity.         Plaintiff

20   objects to this request to the extent it purports to request information that is neither relevant to the

21   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

22   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

23   the possession, custody or control of third parties to this lawsuit and not within the possession,

24   custody and control of Plaintiff.

25   Plaintiff objects to this request to the extent that it purports to request information that is outside of

26   the possession, custody or control of Plaintiff.

27           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

28   search, Plaintiff will produce responsive, non-privileged information within its custody and control
                                                        120                                           APP181
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 1   to the extent that such information exists.

 2

 3   REQUEST NO. 118:

 4   Please produce all Documents Concerning communications between Mr. Fujimoto and Mr.

 5   Atsunobu Ishida, including, but not limited to, those Documents Concerning the Okada Holdings

 6   Takeover.

 7   OBJECTIONS AND RESPONSE:

 8           Plaintiff incorporates each of its General Objections and Objections to Definitions and
 9   Instructions as if fully set forth herein.
10           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
11   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
12   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
13   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome
14   inasmuch as it purports to request the production of “all” or “each and every” document in the
15   requested category of documents. Such a request for all documents is unduly burdensome in
16   particular given the extremely broad definitions of “Document” supplied by Defendants and,
17   consequently, the request purports to require Plaintiff to collect documents from potentially every
18   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

19   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

20   that they were in possession of potentially responsive information. Plaintiff objects to this request

21   to the extent it purports to request the production of information subject to the attorney-client

22   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

23   objects to this request to the extent it purports to request information that is neither relevant to the

24   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

25   evidence.

26   Plaintiff objects to this request to the extent it purports to request information that is in the

27   possession, custody or control of third parties to this lawsuit and not within the possession, custody

28   and control of Plaintiff. Plaintiff objects to this request to the extent that it purports to request
                                                        121                                              APP182
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 1   information that is outside of the possession, custody or control of Plaintiff.

 2           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 3   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 4   to the extent that such information exists.

 5

 6   REQUEST NO. 119:

 7   Please produce all Documents Concerning communications between Mr. Fujimoto, or anyone on

 8   his behalf, and Hiromi Okada from January 1, 2017 to the present.
 9   OBJECTIONS AND RESPONSE:
10           Plaintiff incorporates each of its General Objections and Objections to Definitions and
11   Instructions as if fully set forth herein.
12           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
13   which are subject to more than one reasonable interpretation: “all Documents Concerning” and
14   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage
15   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome
16   inasmuch as it purports to request the production of “all” or “each and every” document in the
17   requested category of documents. Such a request for all documents is unduly burdensome in
18   particular given the extremely broad definitions of “Document” supplied by Defendants and,

19   consequently, the request purports to require Plaintiff to collect documents from potentially every

20   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

21   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

22   that they were in possession of potentially responsive information. Plaintiff objects to this request

23   to the extent it purports to request the production of information subject to the attorney-client

24   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

25   objects to this request to the extent it purports to request information that is neither relevant to the

26   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

27   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

28   the possession, custody or control of third parties to this lawsuit and not within the possession,
                                                        122                                           APP183
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 1   custody and control of Plaintiff.

 2   Plaintiff objects to this request to the extent that it purports to request information that is outside of

 3   the possession, custody or control of Plaintiff.

 4           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 5   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 6   to the extent that such information exists.

 7

 8   REQUEST NO. 120:
 9   Please produce all Documents Concerning communications between UEC, or anyone on its behalf,

10   and Hiromi Okada from January 1, 2017 to the present.

11   OBJECTIONS AND RESPONSE:

12           Plaintiff incorporates each of its General Objections and Objections to Definitions and

13   Instructions as if fully set forth herein.

14           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

15   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

16   “communications.” Plaintiff objects to this request as overly broad and unduly burdensome

17   inasmuch as it purports to request the production of “all” or “each and every” document in the

18   requested category of documents. Such a request for all documents is unduly burdensome in

19   particular given the extremely broad definitions of “Document” supplied by Defendants and,

20   consequently, the request purports to require Plaintiff to collect documents from potentially every

21   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

22   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

23   that they were in possession of potentially responsive information. Plaintiff objects to this request

24   to the extent it purports to request the production of information subject to the attorney-client

25   privilege, the work product doctrine or any other recognized privilege or immunity.         Plaintiff

26   objects to this request to the extent it purports to request information that is neither relevant to the

27   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

28   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
                                                        123                                           APP184
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 1   the possession, custody or control of third parties to this lawsuit and not within the possession,

 2   custody and control of Plaintiff. Plaintiff objects to this request to the extent that it purports to

 3   request information that is outside of the possession, custody or control of Plaintiff.

 4           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 5   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 6   to the extent that such information exists.

 7

 8   REQUEST NO. 121:
 9   Please produce all Documents that specifically reference Hiromi Okada (including but not limited to

10   Documents containing her name in Japanese) from January 1, 2017 to the present.

11   OBJECTIONS AND RESPONSE:

12           Plaintiff incorporates each of its General Objections and Objections to Definitions and

13   Instructions as if fully set forth herein.

14           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

15   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

16   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

17   given the context. Plaintiff objects to this request as overly broad and unduly burdensome

18   inasmuch as it purports to request the production of “all” or “each and every” document in the

19   requested category of documents. Such a request for all documents is unduly burdensome in

20   particular given the extremely broad definitions of “Document” supplied by Defendants and,

21   consequently, the request purports to require Plaintiff to collect documents from potentially every

22   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

23   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

24   that they were in possession of potentially responsive information. Plaintiff objects to this request

25   to the extent it purports to request the production of information subject to the attorney-client

26   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

27   objects to this request to the extent it purports to request information that is neither relevant to the

28   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
                                                        124                                           APP185
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 1   evidence.

 2   Plaintiff objects to this request to the extent it purports to request information that is in the

 3   possession, custody or control of third parties to this lawsuit and not within the possession, custody

 4   and control of Plaintiff. Plaintiff objects to this request to the extent that it purports to request

 5   information that is outside of the possession, custody or control of Plaintiff.

 6           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 7   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 8   to the extent that such information exists.
 9

10   REQUEST NO. 122:
11   In a UEC Press Release dated May 31, 2017 entitled “Proposed Change of Board members,” it

12   states that UEC has “received notice from Okada Holdings Limited which owns 67.90% of the

13   voting rights of the Company, stating its intention to approve the proposed candidates for Directors

14   as listed above at the 44th Ordinary General Meeting of Shareholders.” Please produce a copy of all

15   Documents Concerning this notice that UEC received from Okada Holdings.

16   OBJECTIONS AND RESPONSE:

17           Plaintiff incorporates each of its General Objections and Objections to Definitions and

18   Instructions as if fully set forth herein.

19           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

20   which are subject to more than one reasonable interpretation: “all Documents Concerning this

21   notice.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given the

22   context.    Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

23   purports to request the production of “all” or “each and every” document in the requested category

24   of documents. Such a request for all documents is unduly burdensome in particular given the

25   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

26   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

27   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

28   reasonable list of custodians whose job responsibilities would indicate that they were in possession
                                                        125                                              APP186
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 1   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

 2   request the production of information subject to the attorney-client privilege, the work product

 3   doctrine or any other recognized privilege or immunity.       Plaintiff objects to this request to the

 4   extent it purports to request information that is neither relevant to the subject matter of this lawsuit

 5   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

 6   request to the extent it purports to request information that is in the possession, custody or control of

 7   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff

 8   objects to this request to the extent that it purports to request information that is outside of the
 9   possession, custody or control of Plaintiff.
10           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
11   search, Plaintiff will produce responsive, non-privileged information within its custody and control
12   to the extent that such information exists.
13

14   REQUEST NO. 123:
15   From January 1, 2017 to present, please produce all Documents Concerning communications

16   between UEC (or person or entity on its behalf) and any government organizations (including but

17   not limited to the Hong Kong Independent Commission Against Corruption) Concerning allegations

18   that Mr. Okada has engaged in any improper or illegal activities.

19   OBJECTIONS AND RESPONSE:

20           Plaintiff incorporates each of its General Objections and Objections to Definitions and

21   Instructions as if fully set forth herein.

22           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

23   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

24   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

25   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome

26   inasmuch as it purports to request the production of “all” or “each and every” document in the

27   requested category of documents. Such a request for all documents is unduly burdensome in

28   particular given the extremely broad definitions of “Document” supplied by Defendants and,
                                                        126                                            APP187
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 1   consequently, the request purports to require Plaintiff to collect documents from potentially every

 2   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 3   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

 4   that they were in possession of potentially responsive information. Plaintiff objects to this request

 5   to the extent it purports to request the production of information subject to the attorney-client

 6   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

 7   objects to this request to the extent it purports to request information that is neither relevant to the

 8   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
 9   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
10   the possession, custody or control of third parties to this lawsuit and not within the possession,
11   custody and control of Plaintiff.
12   Plaintiff objects to this request to the extent that it purports to request information that is outside of
13   the possession, custody or control of Plaintiff.
14           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
15   search, Plaintiff will produce responsive, non-privileged information within its custody and control
16   to the extent that such information exists.
17

18   REQUEST NO. 124:

19   From January 1, 2017 to present, please produce all Documents Concerning legal filings by UEC

20   (or person or entity on its behalf) Concerning allegations that Mr. Okada has engaged in any

21   improper or illegal activities.

22   OBJECTIONS AND RESPONSE:

23           Plaintiff incorporates each of its General Objections and Objections to Definitions and

24   Instructions as if fully set forth herein.

25           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

26   which are subject to more than one reasonable interpretation: “all Documents Concerning legal

27   filings.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given the

28   context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it
                                                        127                                           APP188
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 1   purports to request the production of “all” or “each and every” document in the requested category

 2   of documents. Such a request for all documents is unduly burdensome in particular given the

 3   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

 4   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

 5   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

 6   reasonable list of custodians whose job responsibilities would indicate that they were in possession

 7   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

 8   request the production of information subject to the attorney-client privilege, the work product
 9   doctrine or any other recognized privilege or immunity.       Plaintiff objects to this request to the
10   extent it purports to request information that is neither relevant to the subject matter of this lawsuit
11   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this
12   request to the extent it purports to request information that is in the possession, custody or control of
13   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff
14   objects to this request to the extent that it purports to request information that is outside of the
15   possession, custody or control of Plaintiff.
16           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
17   search, Plaintiff will produce responsive, non-privileged information within its custody and control
18   to the extent that such information exists.

19

20   REQUEST NO. 125:

21   From January 1, 2011 to present, please produce all Documents concerning any UEC resolutions

22   (including but not limited to any UEC written corporate resolutions involving Tiger Resorts Asia

23   Limited) Concerning allegations contained in the report by the Special Investigation Committee

24   which is referenced in paragraph 68 of the Second Amended Complaint.

25   OBJECTIONS AND RESPONSE:

26           Plaintiff incorporates each of its General Objections and Objections to Definitions and

27   Instructions as if fully set forth herein.

28           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
                                                        128                                            APP189
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 1   which are subject to more than one reasonable interpretation: “all Documents

 2   concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

 3   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

 4   purports to request the production of “all” or “each and every” document in the requested category

 5   of documents. Such a request for all documents is unduly burdensome in particular given the

 6   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

 7   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

 8   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
 9   reasonable list of custodians whose job responsibilities would indicate that they were in possession
10   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
11   request the production of information subject to the attorney-client privilege, the work product
12   doctrine or any other recognized privilege or immunity.       Plaintiff objects to this request to the
13   extent it purports to request information that is neither relevant to the subject matter of this lawsuit
14   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this
15   request to the extent it purports to request information that is in the possession, custody or control of
16   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff
17   objects to this request to the extent it purports to request information that is within the public
18   domain and accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this

19   request to the extent that it is not reasonably limited to a time period relevant to the causes of action

20   and claims at issue in this lawsuit.

21   Plaintiff objects to this request to the extent that it purports to request information that is outside of

22   the possession, custody or control of Plaintiff. Plaintiff objects to this request as overly

23   burdensome to the extent it purports to request documents that are, or should be, within the

24   possession custody and control of one or more of the Defendants. Plaintiff objects to this request

25   as overly burdensome to the extent it purports to duplicate or overlap in subject matter with other

26   requests propounded by the Defendants.

27           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

28   search, Plaintiff will produce responsive, non-privileged information within its custody and control
                                                        129                                            APP190
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 1   to the extent that such information exists.

 2

 3                                    UEC Financials/Board Compensation

 4   REQUEST NO. 126:

 5   Per a statement from Mr. Yoshinao Negishi, dated June 23, 2017, it states that “with respect to the

 6   compensation for directors of UE, UE has a prescribed calculation standard for performance-linked

 7   compensation. After reappointment of a director at the shareholder’s general meeting of UE held in

 8   June of every year, the amount of compensation to be paid to a director is determined based on the
 9   performance of the previous business year according to this standard.” Please produce a copy of any
10   Documents Concerning this UEC director compensation standard from January 1, 2015 to present.
11   OBJECTIONS AND RESPONSE:
12           Plaintiff incorporates each of its General Objections and Objections to Definitions and
13   Instructions as if fully set forth herein.
14           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
15   which are subject to more than one reasonable interpretation: “any Documents
16   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given
17   the context.   Plaintiff objects to this request to the extent it purports to request the production of
18   information subject to the attorney-client privilege, the work product doctrine or any other

19   recognized privilege or immunity.

20   Plaintiff objects to this request to the extent it purports to request information that is neither relevant

21   to the subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

22   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

23   the possession, custody or control of third parties to this lawsuit and not within the possession,

24   custody and control of Plaintiff. Plaintiff objects to this request to the extent that it purports to

25   request information that is outside of the possession, custody or control of Plaintiff. Plaintiff

26   objects to this request as overly burdensome to the extent it purports to request documents that are,

27   or should be, within the possession custody and control of one or more of the Defendants.

28           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
                                                        130                                           APP191
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 1   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 2   to the extent that such information exists.

 3

 4   REQUEST NO. 127:

 5   Please produce all Documents showing the compensation paid by UEC to Mr. Fujimoto from

 6   January 1, 2015 to the present.

 7   OBJECTIONS AND RESPONSE:

 8           Plaintiff incorporates each of its General Objections and Objections to Definitions and
 9   Instructions as if fully set forth herein.
10           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
11   which are subject to more than one reasonable interpretation: “all Documents showing.” Plaintiff
12   will undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff
13   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the
14   production of “all” or “each and every” document in the requested category of documents. Such a
15   request for all documents is unduly burdensome in particular given the extremely broad definitions
16   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff
17   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than
18   conduct a reasonable investigation that collects responsive documents from a reasonable list of

19   custodians whose job responsibilities would indicate that they were in possession of potentially

20   responsive information. Plaintiff objects to this request to the extent it purports to request

21   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to

22   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it

23   purports to request information that is in the possession, custody or control of third parties to this

24   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this

25   request to the extent it purports to request information that is within the public domain and

26   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the

27   extent that it purports to request information that is outside of the possession, custody or control of

28   Plaintiff.
                                                       131                                            APP192
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 1           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 2   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 3   to the extent that such information exists.

 4

 5   REQUEST NO. 128:

 6   Please produce all Documents showing the compensation paid by UEC to Mr. Hajime Tokuda from

 7   January 1, 2015 to the present.

 8   OBJECTIONS AND RESPONSE:
 9           Plaintiff incorporates each of its General Objections and Objections to Definitions and
10   Instructions as if fully set forth herein.
11           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
12   which are subject to more than one reasonable interpretation: “all Documents showing.” Plaintiff
13   will undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff
14   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the
15   production of “all” or “each and every” document in the requested category of documents. Such a
16   request for all documents is unduly burdensome in particular given the extremely broad definitions
17   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff
18   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

19   conduct a reasonable investigation that collects responsive documents from a reasonable list of

20   custodians whose job responsibilities would indicate that they were in possession of potentially

21   responsive information. Plaintiff objects to this request to the extent it purports to request

22   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to

23   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it

24   purports to request information that is in the possession, custody or control of third parties to this

25   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this

26   request to the extent it purports to request information that is within the public domain and

27   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the

28   extent that it purports to request information that is outside of the possession, custody or control of
                                                       132                                            APP193
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 1   Plaintiff.

 2           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 3   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 4   to the extent that such information exists.

 5

 6   REQUEST NO. 129:

 7   Please produce all Documents showing the compensation paid by UEC to Ms. Takako Okada from

 8   January 1, 2015 to the present.
 9   OBJECTIONS AND RESPONSE:
10           Plaintiff incorporates each of its General Objections and Objections to Definitions and
11   Instructions as if fully set forth herein.
12           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
13   which are subject to more than one reasonable interpretation: “all Documents showing.” Plaintiff
14   will undertake to interpret these terms as they would in ordinary usage given the context.       Plaintiff
15   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the
16   production of “all” or “each and every” document in the requested category of documents. Such a
17   request for all documents is unduly burdensome in particular given the extremely broad definitions
18   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

19   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

20   conduct a reasonable investigation that collects responsive documents from a reasonable list of

21   custodians whose job responsibilities would indicate that they were in possession of potentially

22   responsive information. Plaintiff objects to this request to the extent it purports to request

23   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to

24   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it

25   purports to request information that is in the possession, custody or control of third parties to this

26   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this

27   request to the extent it purports to request information that is within the public domain and

28   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the
                                                       133                                            APP194
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 1   extent that it purports to request information that is outside of the possession, custody or control of

 2   Plaintiff.

 3           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 4   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 5   to the extent that such information exists.

 6

 7   REQUEST NO. 130:

 8   Please produce all Documents showing the compensation paid by UEC to Mr. Shimizu Kamigaki
 9   from January 1, 2015 to the present.
10   OBJECTIONS AND RESPONSE:
11           Plaintiff incorporates each of its General Objections and Objections to Definitions and
12   Instructions as if fully set forth herein.
13           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,
14   which are subject to more than one reasonable interpretation: “all Documents showing.” Plaintiff
15   will undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff
16   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the
17   production of “all” or “each and every” document in the requested category of documents. Such a
18   request for all documents is unduly burdensome in particular given the extremely broad definitions

19   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

20   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

21   conduct a reasonable investigation that collects responsive documents from a reasonable list of

22   custodians whose job responsibilities would indicate that they were in possession of potentially

23   responsive information. Plaintiff objects to this request to the extent it purports to request

24   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to

25   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it

26   purports to request information that is in the possession, custody or control of third parties to this

27   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this

28   request to the extent it purports to request information that is within the public domain and
                                                       134                                            APP195
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 1   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the

 2   extent that it purports to request information that is outside of the possession, custody or control of

 3   Plaintiff.

 4           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 5   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 6   to the extent that such information exists.

 7

 8   REQUEST NO. 131:
 9   Please produce all Documents showing the compensation paid by UEC to Mr. Yoshio Otani from

10   January 1, 2015 to the present.

11   OBJECTIONS AND RESPONSE:

12           Plaintiff incorporates each of its General Objections and Objections to Definitions and

13   Instructions as if fully set forth herein.

14           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

15   which are subject to more than one reasonable interpretation: “all Documents showing.” Plaintiff

16   will undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff

17   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the

18   production of “all” or “each and every” document in the requested category of documents. Such a

19   request for all documents is unduly burdensome in particular given the extremely broad definitions

20   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

21   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

22   conduct a reasonable investigation that collects responsive documents from a reasonable list of

23   custodians whose job responsibilities would indicate that they were in possession of potentially

24   responsive information. Plaintiff objects to this request to the extent it purports to request

25   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to

26   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it

27   purports to request information that is in the possession, custody or control of third parties to this

28   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this
                                                       135                                            APP196
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 1   request to the extent it purports to request information that is within the public domain and

 2   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the

 3   extent that it purports to request information that is outside of the possession, custody or control of

 4   Plaintiff.

 5           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 6   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 7   to the extent that such information exists.

 8
 9   REQUEST NO. 132:
10   Please produce all Documents showing the compensation paid by UEC to Mr. Yoshinao Negishi

11   from January 1, 2015 to the present.

12   OBJECTIONS AND RESPONSE:

13           Plaintiff incorporates each of its General Objections and Objections to Definitions and

14   Instructions as if fully set forth herein.

15           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

16   which are subject to more than one reasonable interpretation: “all Documents showing.” Plaintiff

17   will undertake to interpret these terms as they would in ordinary usage given the context. Plaintiff

18   objects to this request as overly broad and unduly burdensome inasmuch as it purports to request the

19   production of “all” or “each and every” document in the requested category of documents. Such a

20   request for all documents is unduly burdensome in particular given the extremely broad definitions

21   of “Document” supplied by Defendants and, consequently, the request purports to require Plaintiff

22   to collect documents from potentially every employee, agent or attorney of Plaintiff rather than

23   conduct a reasonable investigation that collects responsive documents from a reasonable list of

24   custodians whose job responsibilities would indicate that they were in possession of potentially

25   responsive information. Plaintiff objects to this request to the extent it purports to request

26   information that is neither relevant to the subject matter of this lawsuit nor reasonably calculated to

27   lead to the discovery of admissible evidence. Plaintiff objects to this request to the extent it

28   purports to request information that is in the possession, custody or control of third parties to this
                                                       136                                            APP197
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 1   lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff objects to this

 2   request to the extent it purports to request information that is within the public domain and

 3   accordingly is at least as easily obtained by the Defendants. Plaintiff objects to this request to the

 4   extent that it purports to request information that is outside of the possession, custody or control of

 5   Plaintiff.

 6           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 7   search, Plaintiff will produce responsive, non-privileged information within its custody and control

 8   to the extent that such information exists.
 9

10   REQUEST NO. 133:
11   Please produce all Documents Concerning legal fees paid by UEC to lawyers for Tomohiro

12   Okada from January 1, 2017 to present.

13   OBJECTIONS AND RESPONSE:

14           Plaintiff incorporates each of its General Objections and Objections to Definitions and

15   Instructions as if fully set forth herein.

16           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

17   which are subject to more than one reasonable interpretation: “all Documents

18   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

19   the context.   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

20   purports to request the production of “all” or “each and every” document in the requested category

21   of documents. Such a request for all documents is unduly burdensome in particular given the

22   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

23   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

24   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

25   reasonable list of custodians whose job responsibilities would indicate that they were in possession

26   of potentially responsive information. Plaintiff objects to this request to the extent it purports to

27   request the production of information subject to the attorney-client privilege, the work product

28   doctrine or any other recognized privilege or immunity.     Plaintiff objects to this request to the
                                                       137                                           APP198
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 1   extent it purports to request information that is neither relevant to the subject matter of this lawsuit

 2   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

 3   request to the extent it purports to request information that is in the possession, custody or control of

 4   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff

 5   objects to this request to the extent that it purports to request information that is outside of the

 6   possession, custody or control of Plaintiff.

 7           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

 8   search, Plaintiff will produce responsive, non-privileged information within its custody and control
 9   to the extent that such information exists.
10

11   REQUEST NO. 134:
12   Please produce all Documents Concerning monies paid by UEC to Tomohiro Okada to reimburse

13   him for any costs, including any legal fees, incurred by him from January 1, 2017 to present.

14   OBJECTIONS AND RESPONSE:

15           Plaintiff incorporates each of its General Objections and Objections to Definitions and

16   Instructions as if fully set forth herein.

17           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

18   which are subject to more than one reasonable interpretation: “all Documents

19   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

20   the context.

21   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it purports to

22   request the production of “all” or “each and every” document in the requested category of

23   documents. Such a request for all documents is unduly burdensome in particular given the

24   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

25   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

26   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

27   reasonable list of custodians whose job responsibilities would indicate that they were in possession

28   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
                                                        138                                           APP199
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 1   request the production of information subject to the attorney-client privilege, the work product

 2   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the

 3   extent it purports to request information that is neither relevant to the subject matter of this lawsuit

 4   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this

 5   request to the extent it purports to request information that is in the possession, custody or control of

 6   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff

 7   objects to this request to the extent that it purports to request information that is outside of the

 8   possession, custody or control of Plaintiff.
 9           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
10   search, Plaintiff will produce responsive, non-privileged information within its custody and control
11   to the extent that such information exists.
12

13                                                 Indemnification
14   REQUEST NO. 135:
15   Please produce all Documents Concerning communications between UEC and Wynn Resorts,

16   Limited from January 29, 2017 to March 31, 2018 Concerning the Wynn Litigation.

17   OBJECTIONS AND RESPONSE:

18           Plaintiff incorporates each of its General Objections and Objections to Definitions and

19   Instructions as if fully set forth herein.

20           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

21   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

22   “communications.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

23   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome

24   inasmuch as it purports to request the production of “all” or “each and every” document in the

25   requested category of documents. Such a request for all documents is unduly burdensome in

26   particular given the extremely broad definitions of “Document” supplied by Defendants and,

27   consequently, the request purports to require Plaintiff to collect documents from potentially every

28   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects
                                                        139                                           APP200
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 1   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

 2   that they were in possession of potentially responsive information. Plaintiff objects to this request

 3   to the extent it purports to request the production of information subject to the attorney-client

 4   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff

 5   objects to this request to the extent it purports to request information that is neither relevant to the

 6   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible

 7   evidence. Plaintiff objects to this request to the extent it purports to request information that is in

 8   the possession, custody or control of third parties to this lawsuit and not within the possession,
 9   custody and control of Plaintiff.
10   Plaintiff objects to this request to the extent that it purports to request information that is outside of
11   the possession, custody or control of Plaintiff. Plaintiff objects to this request as overly
12   burdensome to the extent it purports to request documents that are, or should be, within the
13   possession custody and control of one or more of the Defendants.
14           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
15   search, Plaintiff will produce responsive, non-privileged information within its custody and control
16   to the extent that such information exists.
17

18   REQUEST NO. 136:

19   Please produce all Documents Concerning indemnification by UEC and/or Aruze of Okada in

20   the Wynn Litigation.

21   OBJECTIONS AND RESPONSE:

22           Plaintiff incorporates each of its General Objections and Objections to Definitions and

23   Instructions as if fully set forth herein.

24           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

25   which are subject to more than one reasonable interpretation: “all Documents Concerning” and

26   “indemnification.” Plaintiff will undertake to interpret these terms as they would in ordinary usage

27   given the context.    Plaintiff objects to this request as overly broad and unduly burdensome

28   inasmuch as it purports to request the production of “all” or “each and every” document in the
                                                        140                                           APP201
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 1   requested category of documents. Such a request for all documents is unduly burdensome in

 2   particular given the extremely broad definitions of “Document” supplied by Defendants and,

 3   consequently, the request purports to require Plaintiff to collect documents from potentially every

 4   employee, agent or attorney of Plaintiff rather than conduct a reasonable investigation that collects

 5   responsive documents from a reasonable list of custodians whose job responsibilities would indicate

 6   that they were in possession of potentially responsive information. Plaintiff objects to this request

 7   to the extent it purports to request the production of information subject to the attorney-client

 8   privilege, the work product doctrine or any other recognized privilege or immunity. Plaintiff
 9   objects to this request to the extent it purports to request information that is neither relevant to the
10   subject matter of this lawsuit nor reasonably calculated to lead to the discovery of admissible
11   evidence. Plaintiff objects to this request to the extent it purports to request information that is in
12   the possession, custody or control of third parties to this lawsuit and not within the possession,
13   custody and control of Plaintiff.
14   Plaintiff objects to this request to the extent that it purports to request information that is outside of
15   the possession, custody or control of Plaintiff. Plaintiff objects to this request to the extent it
16   requires a legal conclusion in order to interpret the request.
17           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and
18   search, Plaintiff will produce responsive, non-privileged information within its custody and control

19   to the extent that such information exists.

20

21   REQUEST NO. 137:

22   Please produce all Documents Concerning payment by UEC or Aruze of legal fees incurred

23   by UEC or Aruze in the Wynn Litigation.

24   OBJECTIONS AND RESPONSE:

25           Plaintiff incorporates each of its General Objections and Objections to Definitions and

26   Instructions as if fully set forth herein.

27           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

28   which are subject to more than one reasonable interpretation: “all Documents
                                                        141                                           APP202
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 1   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

 2   the context. Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

 3   purports to request the production of “all” or “each and every” document in the requested category

 4   of documents. Such a request for all documents is unduly burdensome in particular given the

 5   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request

 6   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney

 7   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a

 8   reasonable list of custodians whose job responsibilities would indicate that they were in possession
 9   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
10   request the production of information subject to the attorney-client privilege, the work product
11   doctrine or any other recognized privilege or immunity. Plaintiff objects to this request to the
12   extent it purports to request information that is neither relevant to the subject matter of this lawsuit
13   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this
14   request to the extent it purports to request information that is in the possession, custody or control of
15   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff
16   objects to this request to the extent that it purports to request information that is outside of the
17   possession, custody or control of Plaintiff. Plaintiff objects to this request to the extent that it is not
18   reasonably limited to a time period relevant to the causes of action and claims at issue in this

19   lawsuit.

20           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

21   search, Plaintiff will produce responsive, non-privileged information within its custody and control

22   to the extent that such information exists.

23

24   REQUEST NO. 138:

25   Please produce all Documents Concerning payment by UEC or Aruze of legal fees incurred

26   by Okada in the Wynn Litigation.

27   OBJECTIONS AND RESPONSE:

28           Plaintiff incorporates each of its General Objections and Objections to Definitions and
                                                        142                                           APP203
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 1   Instructions as if fully set forth herein.

 2           Plaintiff objects to this request as vague and ambiguous in its use of the following terms,

 3   which are subject to more than one reasonable interpretation: “all Documents

 4   Concerning.” Plaintiff will undertake to interpret these terms as they would in ordinary usage given

 5   the context.   Plaintiff objects to this request as overly broad and unduly burdensome inasmuch as it

 6   purports to request the production of “all” or “each and every” document in the requested category

 7   of documents. Such a request for all documents is unduly burdensome in particular given the

 8   extremely broad definitions of “Document” supplied by Defendants and, consequently, the request
 9   purports to require Plaintiff to collect documents from potentially every employee, agent or attorney
10   of Plaintiff rather than conduct a reasonable investigation that collects responsive documents from a
11   reasonable list of custodians whose job responsibilities would indicate that they were in possession
12   of potentially responsive information. Plaintiff objects to this request to the extent it purports to
13   request the production of information subject to the attorney-client privilege, the work product
14   doctrine or any other recognized privilege or immunity.       Plaintiff objects to this request to the
15   extent it purports to request information that is neither relevant to the subject matter of this lawsuit
16   nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiff objects to this
17   request to the extent it purports to request information that is in the possession, custody or control of
18   third parties to this lawsuit and not within the possession, custody and control of Plaintiff. Plaintiff

19   objects to this request to the extent that it purports to request information that is outside of the

20   possession, custody or control of Plaintiff. Plaintiff objects to this request to the extent that it is not

21   reasonably limited to a time period relevant to the causes of action and claims at issue in this

22   lawsuit.

23           Subject to Plaintiff’s above objections, after and pursuant to a reasonable investigation and

24   search, Plaintiff will produce responsive, non-privileged information within its custody and control

25   to the extent that such information exists.

26

27

28
                                                        143                                            APP204
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 1      RESPECTFULLY SUBMITTED this 29th day of October, 2018.

 2

 3                                              By: /s/ Andrew Z. Weaver
                                                     Jay J. Schuttert, Esq.
 4                                                   Nevada Bar No. 8656
                                                     David W. Gutke, Esq.
 5                                                   Nevada Bar No. 9820
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 9                                                  Andrew Weaver (pro hac vice)
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12                                                  ATTORNEYS FOR PLAINTIFF
13

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 1
                                     CERTIFICATE OF SERVICE
 2
           I certify that on the 29th day of October, 2018, a true and correct copy of the foregoing
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